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             EXHIBIT A
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 7                                  UNITED STATES DISTRICT COURT

 8                              NORTHERN DISTRICT OF CALIFORNIA
                                          SAN JOSE DIVISION
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10
      APPLE INC., a California corporation,        Case No. 11-cv-01846-LHK
11
                            Plaintiff,
12
             v.                                    EXPERT REPORT OF SUSAN KARE
13                                                 REGARDING “ARTICLE OF
      SAMSUNG ELECTRONICS CO., LTD., a             MANUFACTURE” FOR THE SAMSUNG
14    Korean business entity; SAMSUNG              PRODUCTS FOUND TO INFRINGE U.S.
      ELECTRONICS AMERICA, INC., a New             PATENT D604,305
15    York corporation; SAMSUNG
      TELECOMMUNICATIONS AMERICA,
16    LLC, a Delaware limited liability company,
17                          Defendants.
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 1                                  EXPERT REPORT OF SUSAN KARE
 2    I.     INTRODUCTION
 3           1.      I submit this Expert Report in connection with certain design patent claims being
 4    asserted by Apple Inc. in this case. I have been asked to provide my opinion with respect to
 5    identifying the “article of manufacture” for the Samsung products that have been determined to
 6    infringe U.S. Patent D604,305.
 7    II.    SUMMARY OF OPINION
 8           2.      For the reasons discussed in this report, it is my opinion that the articles of
 9    manufacture to which Samsung applied the patented design of Apple’s D’305 patent are the
10    Samsung phones found to infringe that patent, in their entirety. Those Samsung phones are:
11    Captivate (JX1011); Continuum (JX1016); Droid Charge (JX1025); Epic 4G (JX1012); Fascinate
12    (JX1013); Galaxy S, i9000 (JX1007); Galaxy S 4G (JX1019); Galaxy S Showcase, i500
13    (JX1017); Gem (JX1020); Indulge (JX1026); Infuse 4G (JX1027); Mesmerize (JX1015); and
14    Vibrant (JX1010). My opinion is based on the evidence in this case and is consistent with my
15    experience working on and knowledge regarding other user interfaces that were applied to other
16    products.
17    III.   BACKGROUND, EDUCATION, AND QUALIFICATIONS
18           3.      I am an icon designer and user interface graphic designer. Since 1987, I have
19    owned and run my design studio in San Francisco, Susan Kare Design, which provides icon, user
20    interface graphics, branding, and corporate identity design services. Since 2015 and to the
21    present, I have also served as a creative director at Pinterest.
22           4.      I received a Bachelor of Arts degree in fine arts and English from Mount Holyoke
23    College in 1975. I graduated Summa Cum Laude and was elected to membership in the Phi Beta
24    Kappa Society.
25           5.      After receiving my Bachelor of Arts degree, I studied graphic design as part of my
26    fine arts curriculum in graduate school at New York University, and I received my Master of Arts
27    degree in 1976. I was granted a Ph.D. in fine arts in 1978 from New York University.
28

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 1           6.       After receiving my Masters and Ph.D. degrees, I received a Rockefeller
 2    Fellowship to work at the Fine Arts Museums of San Francisco.
 3           7.       Overall, I have some 35 years of experience in the field of icon design and user
 4    interface graphic design. (A copy of my curriculum vitae is attached as Exhibit 1.) From 1982
 5    through 1985, I worked for Apple Computer, Inc., first as a graphic artist in the Macintosh
 6    software group, and then as a creative director. While at Apple, I created most of the graphical
 7    elements of the original Macintosh computer’s user interface, including virtually all of its icons
 8    and typefaces. From 1986 through 1988, I was the creative director at NeXT, Inc., where I
 9    managed the development of that company’s graphic identity and other marketing materials.
10           8.       Since leaving NeXT in 1988, I have worked as an independent user interface
11    graphic designer. My work in that capacity has included designing the screen appearance for
12    Microsoft Windows 3.0, including numerous icons and other graphic elements such as buttons,
13    scroll bars, and Solitaire cards. Subsequently I designed icons for user interfaces on behalf of a
14    variety of clients, including images for over 300 functions in Autodesk’s AutoCAD and a symbol
15    set for IBM’s OS/2 operating system. In the early 1990s, I was an employee at General Magic,
16    which developed a handheld communicator, and I provided the graphics for the highly visual user
17    interface of that touch screen device. I co-founded Glam Media in 2003 and worked as its
18    creative director, along with providing website graphics and design for its lifestyle-oriented site,
19    through 2008.
20           9.       Since I started working on icon design at Apple Computer in 1982, I have
21    designed thousands of icons for user interfaces on behalf of hundreds of clients, including Fortune
22    500 companies as well as startup companies. I have created graphical user interfaces for a broad
23    range of software programs and products, such as AutoCAD (Autodesk), Studio 8 (Electronic
24    Arts), watches (Swatch and Fossil), and over 1000 virtual gifts for Facebook.
25           10.      I have also worked as a digital font designer, starting in 1983. I designed most of
26    the bitmap fonts that shipped with the original Macintosh in 1984, including the fonts named
27    Chicago, New York, Geneva, Monaco, and Cairo. Subsequently, I designed other bitmap fonts
28    for clients including Fossil and Danger Research, and a number that were sold online by Atomic

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 1    Media. My experience in font design includes fonts for user interfaces that require a combination
 2    of graphic elements and type.
 3            11.    As a creative director at Pinterest, my work has included a total icon redesign for
 4    its iOS application in 2016, and the development of multiple other icon sets. I have been a
 5    member of the Core Experience group, reviewing new user interface directions. I have also
 6    worked on various Pinterest corporate identity projects, and graphic design for the company’s
 7    new café in San Francisco.
 8            12.    In 2001, I was one of six individuals to receive the Chrysler Design Award, which
 9    celebrates “the achievements of individuals who have consistently championed seminal works of
10    architecture and design, and significantly influenced modern American culture.”
11            13.    In 2003, I was appointed by the Secretary of the Treasury to the Citizens Coinage
12    Advisory Committee. I was recommended to the Secretary by House Minority Leader Nancy
13    Pelosi, in accordance with Public Law 108-15, to fill one of four positions recommended by
14    Congressional leadership.
15            14.    In 2016, examples of my early sketches for icons in graphic user interfaces were
16    acquired by the New York Museum of Modern Art and the San Francisco Museum of Modern
17    Art. Some of those are works on paper, and others are digital.
18            15.    In April 2018, I will receive the AIGA Medal. Originally the American Institute
19    of Graphic Arts, AIGA is now known as “AIGA, the professional association for design.”1 The
20    AIGA Medal is awarded in recognition of an individual’s “exceptional achievements, services or
21    other contributions to the field of design and visual communication.”
22            16.    My expertise in icon development and user interface graphics is the result of
23    various skills that I have honed over the years while solving design problems for clients. For
24    example, effective design of a graphical user interface employing icons requires me to understand
25    the needs and characteristics of the user and the designated functionality of those images.
26    Effective GUI design depends on effective visual communication, so that a user understands and
27
      1
          www.aiga.org/about/
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 1    remembers the intended association between an icon’s image and its purpose. Icons in a GUI can
 2    be used to represent a variety of visual affordances: symbols for applications, tools, files,
 3    controls, etc. Also, design of an icon-rich graphical interface requires fundamental visual design
 4    skills along with an understanding of the overall digital environment in which the icons function,
 5    and how they will be perceived in context by users. It is both an aesthetic and practical challenge,
 6    and is often not limited to the boundaries of a screen. Finally, it is also necessary to know how to
 7    present type and corresponding symbols in a way that optimizes a user’s understanding at a
 8    glance.
 9              17.   I have spent most of my career as a designer developing, evaluating, and iterating
10    user interface graphics for average users. Through my practical experience, I have gained an
11    understanding of how icons and user interface graphics are interpreted and assimilated by average
12    users. This understanding enhances my ability to identify graphic elements that are meaningful
13    and memorable for the average user, non-technical users in particular.
14              18.   Prior to my work for Apple in the earlier phases of this lawsuit in 2012, I had not
15    testified as an expert or been retained as an expert in any previous lawsuit. Since 2012, I have
16    been retained as a consulting expert witness in two other matters. I did not testify or submit
17    expert reports in either.
18              19.   I expect to testify at trial concerning the opinions discussed in this report, as well
19    as my bases for them, such as my knowledge, experience, and expertise concerning the creative
20    process of icon design and the design of graphical user interfaces for electronic devices. I also
21    expect to rebut any opinions I disagree with that are provided by Samsung’s expert(s) with
22    respect to the subject matter of this report.
23              20.   I am being compensated for my work in connection with this matter at my normal
24    consulting rate of $675 per hour. I am being separately reimbursed for all out-of-pocket
25    expenses. No part of my compensation is dependent upon the outcome of this litigation or the
26    opinions that I express.
27    IV.       MATERIALS CONSIDERED
28              21.   In forming the opinions set forth in this report, I considered and relied upon my

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 1    education, background, and experience. I also have reviewed the D’305 patent, as well as the
 2    other documents or reference materials cited or listed in this report. In addition, I have evaluated
 3    photographs and physical samples of the Samsung Phones found to infringe the D’305 patent, as
 4    well as certain iPhones. In forming my opinions, I have also reviewed and considered the
 5    materials listed in Exhibit 2 of this report. I have also reviewed my earlier expert report in this
 6    litigation, as well as the deposition and trial testimony I provided at the earlier stages of this case.
 7    Finally, I have also been able to speak with Richard Howarth, Tony Blevins, and Greg Joswiak,
 8    to enhance first-hand my understanding of the iPhone design and manufacturing process at Apple.
 9            22.     I reserve the right to rely upon any additional information or materials that may be
10    provided to me, or that are relied upon by any of Samsung’s experts or witnesses, if called to
11    testify or to give additional opinions regarding this matter.
12            23.     I have been informed that expert discovery in this phase of the lawsuit is still
13    ongoing, and I will consider additional facts and material produced through discovery to
14    determine whether such additional material has an impact on my opinions. I may amend or
15    supplement this report as necessary based on such additional information.
16    V.      RELEVANT LEGAL PRINCIPLES
17            24.     I have been informed of the following applicable legal principles and asked to
18    apply them to my analysis.
19            25.     I have been informed that Section 289 of the Patent Act provides the following
20    damages remedy for design patent infringement:
21                    Whoever during the term of a patent for a design, without license of
                      the owner, (1) applies the patented design, or any colorable
22                    imitation thereof, to any article of manufacture for the purpose of
                      sale, or (2) sells or exposes for sale any article of manufacture to
23                    which such design or colorable imitation has been applied shall be
                      liable to the owner to the extent of his total profit, but not less than
24                    $250, recoverable in any United States district court having
                      jurisdiction of the parties.
25

26            26.     Accordingly, it is necessary to identify the “article of manufacture” to which the
27    infringed design has been applied. I understand that “article of manufacture” has a broad
28    meaning. An “article” is just “a particular thing.” And “manufacture” means “the conversion of

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 1    raw materials by the hand, or by machinery, into articles suitable for the use of man” and “the
 2    articles so made.” “An article of manufacture, then, is simply a thing made by hand or machine.”
 3    Samsung Elecs. Co. v. Apple Inc., 137 S. Ct. 429, 434-435 (2016).
 4           27.      I understand that an article of manufacture may be either a product sold to a
 5    consumer or a component of that product.
 6           28.      I understand that the Court has decided that the following four factors are to be
 7    considered in for determining the article of manufacture:
 8
                      (i)     the scope of the design claimed in the patent, including the drawing and
 9                            written description;
10
                      (ii)    the relative prominence of the design within the product as a whole;
11
                      (iii)   whether the design is conceptually distinct from the product as a whole;
12                            and

13                    (iv)    the physical relationship between the patented design and the rest of the
                              product, including whether the design pertains to a component that a user
14                            or seller can physically separate from the product as a whole, and whether
15                            the design is embodied in a component that is manufactured separately
                              from the rest of the product, or if the component can be sold separately.
16

17    VI.    OVERVIEW OF RELEVANT CASE HISTORY

18           29.      On April 15, 2011, Apple sued Samsung Electronics Co. Ltd., Samsung

19    Electronics America, Inc., and Samsung Telecommunications America, LLC for infringement of

20    certain design patents, utility patents, and trade dresses. Apple’s asserted design patents included

21    U.S. Patent No. D604,305.

22           30.      On July 27, 2012, the Court provided the following claim construction for Apple’s

23    D’305 patent:

24                    “The D’305 Patent claims the ornamental design for a graphical
                      user interface for a display screen or portion thereof, as shown in
25                    Figures 1-2. The broken line showing of a display screen in both
                      views forms no part of the claimed design.”
26

27           31.      A jury trial was held from July 30 to August 24, 2012. The jury reached an

28    Amended Verdict on August 24, 2012. As related to the D’305 patent:


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 1                 The jury found that Apple’s D’305 patent is not invalid.
 2                 The jury found that thirteen Samsung smartphones infringed Apple’s D’305
 3                  patent: Captivate (JX1011); Continuum (JX1016); Droid Charge (JX1025); Epic
 4                  4G (JX1012); Fascinate (JX1013); Galaxy S, i9000 (JX1007); Galaxy S 4G
 5                  (JX1019); Galaxy S Showcase, i500 (JX1017); Gem (JX1020); Indulge (JX1026);
 6                  Infuse 4G (JX1027); Mesmerize (JX1015); and Vibrant (JX1010).
 7           32.    I understand that the jury also found that certain Samsung phones, including some
 8    of the foregoing phones, infringed Apple’s D’677 and D’087 patents. The following chart
 9    summarizes the findings with respect to the three Apple design patents now at issue:
10

11                                   LIST OF INFRINGING PHONES

12                                   D’305                    D’677                D’087
      Captivate                      YES
13    Continuum                      YES
      Droid Charge                   YES
14
      Epic 4G                        YES
15    Fascinate                      YES                      YES
      Galaxy S (i9000)               YES                      YES                  YES
16    Galaxy S 4G                    YES                      YES                  YES
      Galaxy S Showcase (i500)       YES                      YES
17
      Galaxy S II (AT&T)                                      YES
18    Galaxy S II (i9100)                                     YES
      Galaxy S II (T-Mobile)                                  YES
19    Galaxy S II (Epic 4G Touch)                             YES
      Galaxy S II (SkyRocket)                                 YES
20
      Gem                            YES
21    Indulge                        YES
      Infuse 4G                      YES                      YES
22    Mesmerize                      YES                      YES
      Vibrant                        YES                      YES                  YES
23

24
      (Dec. 21, 2017 Deposition Transcript of Greg Joswiak (“Joswiak Dep. Tr.”) Ex. 1; Dec. 19. 2017
25    Deposition Transcript of Richard Howarth (“Howarth Dep. Tr.”) Ex. 1.)

26
             33.    A partial retrial on certain damages issues was held during November 13-21, 2013.
27
      The 2013 trial involved determining damages for thirteen Samsung products found to infringe
28

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 1    Apple’s D’677 and D’305 patents, as well as certain Apple utility patents.
 2            34.     I understand that, after the appeals process, the jury’s infringement and validity
 3    findings stand undisturbed, and I am to accept and apply them in my work for the current phase of
 4    this lawsuit. On October 22, 2017, the Court ordered a new trial limited to determining damages
 5    for the eighteen Samsung products found to infringe Apple’s D’677, D’087, and D’305 patents
 6    (noting that some of those products were found to infringe certain Apple utility patents as well).
 7    In that order, the Court set forth the test that I referenced above for identifying the “articles of
 8    manufacture” to which Samsung has applied Apple’s patented designs.
 9    VII.    FUNDAMENTALS OF DESIGNING A GRAPHICAL USER INTERFACE WITH
              ICONS FOR AN ELECTRONIC DEVICE
10

11            35.     The process of designing a graphical user interface for an electronic device using
12    icons is one of creative problem-solving and involves developing visual components. It often
13    involves the marriage of metaphor and aesthetics, meaning and craft. Creating the part of the
14    device with which users interact is an iterative and collaborative process. Many sources of
15    information and decision-makers are involved: software engineers, product designers, product
16    managers, industrial designers, and marketing managers. It is far from “only” an artistic
17    endeavor, because software and hardware are all essential to the finished product.
18            36.     An icon is a symbol – a visual affordance that may enable a user to interact with an
19    electronic device. Icons can of course appear on physical buttons or digital drawings of buttons.
20    A group of icons on a screen can represent a variety of concepts and opportunities to interact.
21    Images are differentiated from each other so they can be recognized at a glance. A designer
22    developing of a set of icons for a device might differentiate them from each other (or those in
23    other products) by varying the shapes, colors, or sizes, etc., or using the arrangement of icons to
24    add meaning to subgroups.
25            37.     Sometimes an icon is a fairly literal illustration of a user interface element that
26    functions as something in particular (e.g., a clock or document). Alternatively, an icon may
27    instead make use of a metaphor to communicate an abstract concept or verb (e.g., “copy” or
28    “like”). Concrete nouns are typically easier to portray in an icon because there is a physical

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 1    image to render.
 2           38.     The first step in designing a graphical user interface for an electronic device is to
 3    understand the device itself – the product to which the design of the interface will be applied. It is
 4    critical to understand the function of the device, and how it is intended to work. Rarely, if at all,
 5    would a designer of a visual user interface set out to create a device-independent set of graphics.
 6    It is also necessary to know the technical constraints that might affect the design, such as pixel
 7    dimensions and resolution, bit depth/color palette, and constraints such as type of screen. It is
 8    necessary to consider physical factors of the device, and who is expected to use it (i.e., everyday
 9    consumers or trained professionals, for example), where and when the device is typically to be
10    used (indoors or outdoors, day or night), among many other factors.
11           39.     When designing a graphical user interface, the designer must consider each
12    function for which an image is required, and consider what visual metaphors might be used to
13    represent that concept. This is the “design problem” to solve: How best to identify and create an
14    image so that a wide audience will be able to recognize and remember the function represented by
15    that image?
16           40.     Design of a GUI may also need to take into account any marketing or design
17    considerations typically found in a creative brief. These considerations might include the
18    intended “personality” of the product itself; the target audience; the desired style of the user
19    interface graphics; and the competitive landscape (e.g., the goal of being differentiated from
20    competitors in some way). All of these factors can influence the development of a GUI con
21    beyond the need for the clear and memorable communication of an idea.
22           41.     Additional factors may influence the development of the final visual appearance of
23    a GUI. Aesthetics are a prime consideration, but issues mandated by a mobile phone environment
24    might include limited screen real estate, touch screen “hit” area space requirements, the
25    relationship of the industrial design to the user interface, and creative issues or goals provided by
26    a client’s marketing organization. Moreover, because the graphical user interface is to be applied
27    to a particular electronic device, such as a phone, the designer must be aware of any technical
28    requirements or constraints of the product, such as displaying every feature necessary to make a

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 1    functional phone. An additional consideration might be optimizing for a user’s perception of ease
 2    of use, which may affect the desired number and density of icons within a space.
 3           42.     Within the screen dimensions, design options are unlimited. A graphical user
 4    interface designer is freed from the limitations of mechanical buttons and switches. Icon images
 5    can be presented on uniform shapes, for example, flat “tiles” or virtual “buttons”; any shapes are
 6    possible. Buttons might also be shaped like the symbols they contain, or occupy visible grid or
 7    other delineated framework. Color palette might be determined by branding considerations or
 8    used to indicate categories of applications or features. Overall visual style (e.g., a two-
 9    dimensional or three-dimensional look, hand drawn effect, palette and texture, etc.) might be
10    driven by marketing issues such as target audience or price point. Though individuals design
11    icons, the path to a device UI is typically a collaborative process, with design alternatives
12    presented and a final icon set chosen in tandem with a requestor, client, or other decision maker.
13    VIII. THE D’305 PATENT AND APPLE’S IPHONE
14           43.     In the D’305 patent, icons are pictured on a display screen. (APLNDC00030421-
15    425.) The width:height ratio of the display screen is approximately 1:1.5. There is a 4 x 3 array
16    (4 columns, 3 rows) on a black background, with an additional row of icons in a gray gradient
17    area at the bottom of the screen. (See Figure 1 from the D’305 patent, reproduced below.)
18    Approximately the top 80% appears as a solid black background containing the 4 x 3 array.
19    Against the black background, the 12 icons, which vary in color, in the top portion provide a
20    bright contrast and appear virtually illuminated against the black. The lower approximately 20%
21    of the screen has a gray gradient-patterned background containing the additional row of icons—
22    the main effect being that the top part and lower part of the screen appear as separate, bounded
23    areas, setting off the icons in the lower part as a separate group. The icons in the D’305 patent
24    have the shape of squares with rounded corners. Under each icon there is gray text that names the
25    application represented by the icon. There is a band across the top of the screen displaying
26    information: signal strength, carrier name, time, and battery charge status.
27
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14                                            D’305 Patent Fig. 1
15

16           44.     I have examined the user interface graphics of an iPhone running iOS version
17    2.2.1. To do so I have examined an iPhone itself as well as “screen capture” images of an iPhone
18    home screen. (Exhibit 3.)
19           45.     The overall visual appearance of the iPhone screen is substantially the same as the
20    designs shown in the D’305 Patent.2 The iPhone displays a grid of icons in the top portion of the
21    screen. There are four columns and three full rows of icons, with a partial fourth row of icons.3
22

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24      See Joswiak Dep. Tr. at 20:22 – 21:2 (identifying the D’305 Patent design as “the [user
      interface] for our iPhones and iPod Touch … Actually, this one in particular is the iPhone”); id. at
25    21:8 (“[T]his was the UI for our iPhones”); id. at 24:15 – 16 (“It is the graphical user interface of
      an iPhone.”); Howarth Dep. Tr. at 22:11 – 14 (testifying that the D’305 Patent design “looks like,
26    to me, the -- the graphical user interface that's shipped with the iPhone, that shipped on -- that was
      the way that you controlled the iPhone.”).
27    3
       The number of rows visible in the top portion of the screen can be reduced to three rows by
      moving some icons onto a second “page,” as shown in Figure 4(b).
28

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 1    There is a separate row of four icons along the bottom of the screen on a gray gradient-patterned
 2    background filling approximately the bottom 20% of the screen.
 3             46.    When the iPhone is configured to display icons on additional “pages,” the separate
 4    row of four icons along the bottom of the screen does not change when the user views the
 5    additional pages.
 6             47.    The iPhone screen is 480 pixels tall and 320 pixels wide, measuring 3.5 inches
 7    (diagonal) with a pixel density of 163 pixels per inch.4 Each icon appears to be a smooth (anti-
 8    aliased) rounded rectangle that is 57 x 57 pixels; each individual tiny pixel is a point of light that
 9    together with others creates an image. The combination of pixels of many shades creates the
10    perception of smooth, versus jagged, button edges. The black background of pixels blends
11    seamlessly with the black border of the phone itself, so the 16 icons are a bright contrast and
12    appear virtually illuminated against the black. As in the D’305 patent, many icons show a curved
13    reflection of a light source that creates a shiny, arc-shaped effect over the top half of the icon; this
14    is visible on all icons except Calendar, Camera, Maps, Calculator, Notes, Safari, and Contacts.
15    (See Figures 4(a) and 4(b), below; Exhibit 3.)
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          http://support.apple.com/kb/SP2
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12                    Figure 4(a)                                         Figure 4(b)
            iPhone Screenshot (Home Screen)                   iPhone Screenshot (With Three Icons
13                                                                Moved to Separate “Page”)
14           48.     Each iPhone icon is labeled with pale gray, sans-serif, approximately 12 point anti-
15    aliased text (upper and lowercase). The baseline of the text is 14 pixels below the lower edge of
16    the icon.
17           49.     There is a distinctive, overall graphical consistency to the iPhone screen. Indeed,
18    the iPhone screen has itself become iconic as a universal image for a smartphone. The button-like
19    icons are all shaped as squares with rounded corners. Images are either cropped by this shape
20    (e.g., Notes), or a discrete image is set within the rectangle, which acts as a background (e.g.,
21    Clock). Although graphic styles vary between the individual icons (e.g., a stylized phone image
22    for Phone, but photorealistic images for Photos and Camera), the uniform shape and precise
23    placement in a grid provides a sense of organization and unity. There is more vertical space than
24    horizontal space between icons, but because of the text, the amount of black space that runs
25    vertically and horizontally between the icons appears similar. There is additional black
26    background above and below the grid of icons to afford screen real estate for additional elements
27    (e.g., time and battery life above, page indicator below). Another distinctive feature is the gray
28

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 1    panel at the bottom of the screen that sets off four icons in a separate group; the distinctive green
 2    Phone icon anchors the far left.
 3           50.     I have also examined an iPhone 3GS and an iPhone 4, each running iOS version
 4    5.0.1, and I have used Adobe Photoshop to examine screen capture images from the devices.
 5    (Exhibits 4, 5.) The overall visual appearance of the iPhone 3GS and iPhone 4 screens is
 6    substantially the same as the design shown in the D’305 patent.5
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                       Figure 5                                             Figure 6
20
          iPhone 3GS Screenshot (Home Screen)                  iPhone 4 Screenshot (Home Screen)
21           51.     The user interface graphics of the iPhone 3GS and iPhone 4—the shape,
22    arrangement and spacing of the icons—is consistent with the original iPhone, but there are some
23    small changes. (See Figures 5 and 6, above.) The iPhone 3GS screen has the same size and
24

25    5
        See Joswiak Dep. Tr. at 20:22 – 21:2 (identifying the D’305 Patent design as “the [user
      interface] for our iPhones and iPod Touch … Actually, this one in particular is the iPhone”); id. at
26    21:8 (“[T]his was the UI for our iPhones”); id. at 24:15 – 16 (“It is the graphical user interface of
      an iPhone.”); Howarth Dep. Tr. at 22:11 – 14 (testifying that the D’305 Patent design “looks like,
27    to me, the -- the graphical user interface that's shipped with the iPhone, that shipped on -- that was
      the way that you controlled the iPhone.”).
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 1    resolution as the original iPhone, but the 3.5 inch (diagonal) screen of the iPhone 4 has a higher
 2    resolution of 940 x 640, for a pixel density of 326 pixels per inch. Rather than a gray gradient-
 3    patterned background for the bottom portion of the screen, there is a rectangular, reflective
 4    surface that creates a virtual shelf, which serves as a base for the row of icons. The background is
 5    not black, but rather has a gray gradient with scattered water droplets. The anti-aliased text below
 6    the icons is white with a drop shadow.
 7    IX.    SAMSUNG’S INFRINGING PRODUCTS
 8           52.     As noted above, the following Samsung Phones were found by the jury to infringe
 9    the D’305 patent:
10                  Captivate
11                  Continuum
12                  Droid Charge
13                  Epic 4G
14                  Fascinate
15                  Galaxy S 4G
16                  Galaxy S i9000
17                  Gem
18                  Indulge
19                  Infuse 4G
20                  Mesmerize
21                  Galaxy S Showcase (i500)
22                  Vibrant
23           I understand that Samsung’s infringement was found by the jury to be willful.
24           53.     Photographs of the applications screens of each of the infringing Samsung Phones
25    are contained in Exhibits 6 through 18. I have examined each of the phones themselves. I have
26    also examined screen capture images of the applications screens of the Droid Charge, Fascinate,
27    Mesmerize, and Galaxy S i9000 (the only four phones from which I could obtain screen capture
28    images created using the phones’ built-in operating system). (Exhibits 19, 20, 21, 22.)

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13                  Figure 20 (See Exhibit 18)                  Figure 21 (See Exhibit 9)
                   Vibrant Applications Screen                 Epic 4G Applications Screen
14                   (Page 1 of Applications)                    (Page 1 of Applications)
15
             54.     The applications screens of the Samsung Phones address the same design problem
16
      addressed by the iPhone Devices and the D’305 patent: how to present a set of application icons
17
      on a touch screen device. The icons in the applications screens displayed by the Samsung Phones
18
      use varying graphic illustration styles in a similar fashion as do the icons used by the iPhone
19
      Devices and contained in the D’305 patent. As with the iPhone Devices and the D’305 patent, the
20
      consistent use of rounded, square-shaped icons in a grid layout unifies the icons in producing an
21
      overall visual appearance as a group.
22
             55.     Thus, it appears that Samsung copied the design of the GUI patented in the D’305
23
      patent and embodied in the iPhone. For example, a December 14, 2008 email compares proposed
24
      icons for Samsung projects referred to as “Eternity” and “Genie” with the icons of the iPhone.
25
      (PX35.) The e-mail refers to comments from AT&T that Samsung’s proposed icons “appear very
26
      ‘cartoonish’/animated which is okay if we are targeting a more youthful/tween audience,” and
27
      that “iPhones icons are colorful and vibrant, however they are in contained square[s] which
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 1    appear more organized and consistent.” The e-mail author stated that “[w]e would like to request
 2    our designers take this into consideration when proposing/designing icons and also take into
 3    consideration the target audience the device is for.” Embedded in the email are the
 4    “Icons/MainMenu” for “Eternity & Genie,” juxtaposed against the “iPhone Icons/Main Menu,”
 5    and the contrast between the two styles is apparent. The existence of this side-by-side
 6    comparison between the iPhone’s icons and Samsung’s icons in December 2008 suggests that
 7    Samsung was influenced or guided by the iPhone in designing the applications screens for the
 8    Samsung Phones, which I understand were released beginning in July 2010.
 9           56.     In February 2010, Samsung’s Head of Mobile Division declared that the success of
10    the iPhone confronted Samsung with “a crisis of design.” (PX40.) This appears to have spurred
11    the effort to copy the iPhone. In a document dated March 2, 2010 and titled “Relative Evaluation
12    Report on S1, iPhone,” there are multiple pages that directly compare the iPhone’s icon grid with
13    icon grids that look very similar to the applications screens of the Samsung Phones analyzed
14    above. (PX44 at SAMNDCA00203922, 00203930, 00204001, 00204006, 00204010.) The
15    document identifies elements of the iPhone design that are effective and uses them as a point of
16    comparison to the Samsung designs. For example, the document states about the iPhone, it uses
17    light to provide “three dimensionality [and] a luxurious feel.” (Id. at SAMNDCA00204010.) In
18    contrast, it states about the use of light by the “GT-i9000”, the icons lack “three dimensional
19    effect,” and it identifies “Directions for Improvement” that include “Insert effects of light for a
20    softer, more luxurious icon implementation.” (Id.) This reference to “effects of light” may be a
21    reference to the shiny, arc-shaped effect appearing in many icons on the iPhone Devices, the
22    D’305 patent, and the Samsung Phones. The existence of this side-by-side comparison between
23    the iPhone’s icons and Samsung’s icons suggests that Samsung was influenced or guided by the
24    iPhone in designing the applications screens for the Samsung Phones.
25           57.     Another example is a document dated March 22, 2010 and titled “The First
26    Usability Evaluation Results for Spring Bound Vins-Q. (SPH-M910).” (S-ITC-000118719-775.)
27    That document includes side-by-side visual comparisons of the iPhone icons and screen designs
28    with icons and screen designs similar to the Samsung Phones analyzed above. In particular, there

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 1    are graphics that show the Samsung and Apple icons for Clock (or Alarm Clock), Camera,
 2    Calculator, and Settings. (S-ITC-000118722-723.) The existence of this side-by-side comparison
 3    between the iPhone icons and Samsung’s icons suggests that Samsung was been influenced by
 4    the iPhone in designing the applications screens for the Samsung Phones. This document also
 5    contains particular examples of alternative icons for Phone, Contacts, Clock/Alarm, Gallery,
 6    Music, and Camera that are very different than the icons used in the Samsung Phones. (S-ITC-
 7    000118722.)6
 8    X.     “ARTICLE OF MANUFACTURE” ANALYSIS FOR SAMSUNG PRODUCTS
             FOUND TO INFRINGE APPLE’S D’305 PATENT
 9

10           58.     I have considered and analyzed the relevant facts in this case and applied the four-
11    factor test set forth by the Court in order reach to my opinion regarding the identity of the “article
12    of manufacture” to which Samsung applied the claimed design of the D’305 patent.
13           59.     For the reasons discussed in this report, it is my opinion that the article of
14    manufacture to which Samsung applied Apple’s patented design is the entire phone for each
15    Samsung phone found to infringe the D’305 patent, and not a partial phone: a component or
16    components of the phone such as “the display screen while displaying the single, patented array
17

18    6
        There are multiple additional documents that reflect efforts to copy the iPhone, including in
      particular the GUI design: PX46.16, 46.23, 46.29, 46.34 (May 2010); PX194 (internal Samsung
19    e-mail from March 2010): “CEO Gee Sung Choi strongly pointed out Samsung UX’s mindset of
      ‘clinging to the past generation.’ This is being interpreted as an instruction to think about and
20    decide all matters from the perspective of the user. . . . The most representative example is
      obviously the iPhone. . . . I am not saying to make a UX that is exactly identical to the iPhone, but
21    I am saying to learn the wisdom of the the [sic] iPhone and recognize the standard (?) of the
      industry which was set by them already.”; SAMNDCA20003761-20003857 at
22    SAMNDCA20003802 (“Amethyst, iPhone Usability Test Result” – March 2010) shows
      comparison between “Amethyst” (“Icon size: irregular”) and “iPhone” (“Icon size: regular and
23    standard”) and says “Improvement | Set the standard icon size”; S-ITC-010477381-010477490
      (PX219 in 630 trial – May 2010) – Document includes numerous “direction[s]” for
24    “[i]mprovement” of Samsung’s “Kepler” phone, with the iPhone as the comparison throughout.
      For example, S-ITC-010477385 directs shading bottom of menu page to indicate those icons are
25    fixed, as iPhone does; S-ITC-010477409 “Grow the image of the icon and fit it in the square
      frame without any blank margins” (matching description of iPhone). Other documents reflect that
26    Samsung was executing on its goal to make its user interface more like the iPhone. See PX41.179
      (July 2010) “Design new containers to differentiate from iPhone”; PX41.192 (“Container too
27    iPhone like”); PX179 at 179.13 (April 2010 Samsung document entitled “Research & Study:
      Competitor’s GUI study” states: “Samsung’s GUI has Apple-like design feel.”
28

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 1    of GUI icons,” as Samsung contends. The infringing phones, in their entirety, are the things that
 2    may most fairly be said to embody Samsung’s use of Apple’s patented D’305 design. Samsung’s
 3    asserted article of manufacture – “the display screen while displaying” the patented design of the
 4    D’305 patent – is integral to the Samsung phones and a prominent feature necessarily used in
 5    order to operate them. One, it is a display screen that does not stand alone but rather is powered
 6    by the phone and enables a user to operate the phone. Two, even when not seen, the infringing
 7    applications screen is part of the typical use case of the phone. It is revisited repeatedly during
 8    use. And three, the D’305 design is emblematic of the entire phone.
 9           60.     As noted above, a jury found that thirteen Samsung phones infringe the D’305
10    patent: the Captivate (JX1011); Continuum (JX1016); Droid Charge (JX1025); Epic 4G
11    (JX1012); Fascinate (JX1013); Galaxy S, i9000 (JX1007); Galaxy S 4G (JX1019); Galaxy S
12    Showcase, i500 (JX1017); Gem (JX1020); Indulge (JX1026); Infuse 4G (JX1027); Mesmerize
13    (JX1015); and Vibrant (JX1010). I understand that the evidence considered by the jury included
14    pictures of the infringing phones, and that the jury was provided with the actual phones while
15    conducting their deliberations. To my knowledge, the jury was not provided with any of the
16    components that Samsung alleges are the articles of manufacture separated from the rest of the
17    phone. The jury’s verdict identifies the infringing Samsung “products,” not merely the
18    applications screens, when it found infringement “[f]or each of the following products” and listed
19    each “Accused Samsung Product”:
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17    That suggests that the jury understood that Samsung applied the claimed design of the D’305

18    patent to Samsung’s infringing phones as a whole.

19           61.     An analysis of the four factors set forth by the Court confirms that the articles of

20    manufacture to which Samsung applied the D’305 design are the infringing phones in their

21    entirety. I should note that although certain facts and items of evidence are discussed under one

22    or more of the four factors, many of the facts are relevant to more than one factor even if not

23    repeated or cross-referenced in every instance.

24           Factor 1: “The Scope of the Design Claimed in Apple’s Patent, Including the
             Drawing and Written Description”
25

26           62.     The first factor considered in the article of manufacture analysis is “the scope of

27    the design claimed in Apple’s patent, including the drawing and written description.” For the

28    reasons discussed below, it is my opinion that the scope of the design claimed in the D’305 patent

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 1    is consistent with my conclusion that the article of manufacture to which the claimed design is
 2    applied is an entire electronic device that requires a graphical user interface, such as a phone, and
 3    not just a portion of the device. This factor therefore supports the conclusion that the article of
 4    manufacture is the entire phone for each Samsung phone found to infringe the D’305 patent.
 5           The D’305 patent
 6           63.     The title of the D’305 patent is “GRAPHICAL USER INTERFACE FOR A
 7    DISPLAY SCREEN OR PORTION THEREOF.” Similarly, the claim of the D’305 patent is for
 8    “The ornamental design for a graphical user interface for a display screen or portion thereof, as
 9    shown and described.”
10           64.     The Court has construed the claim of the D’305 patent as follows:
11    “The D’305 Patent claims the ornamental design for a graphical user interface for a display screen
12    or portion thereof, as shown in Figures 1-2. The broken line showing of a display screen in both
13    views forms no part of the claimed design.”
14           65.     The D’305 patent’s title and claim, and the Court’s claim construction all support
15    my opinion. A “graphical user interface for a display screen” is something intended only for, and
16    useful only for, an electronic device of some kind. Likewise, the reference to a “display screen”
17    confirms that this is a design intended for an electronic device that would power the screen. A
18    design for a display could only be viewed as part of an electronic device that is turned on. The
19    statement that the design is “for” a display screen indicates that the inventors intended their
20    design to be part of, i.e., applied to, an electronic device that would require and incorporate a
21    display screen. It is neither an independent product nor, say, a graphic to be printed on fabric.
22           66.     While the Court noted that the broken line in both views of the D’305 patent is not
23    part of the claimed design, that observation does not mean that the article of manufacture is so
24    limited. Nothing in the Court’s claim construction or in the four-factor test would limit the article
25    of manufacture to which the claimed design is applied to the solid lines. Indeed, if the article of
26    manufacture was limited to the boundaries of the claimed design there would be no need to
27    consider factors two, three and four – factors that the Court obviously decided should be
28    considered. The Court has said that “the relevant article of manufacture may extend beyond the

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 1    scope of the claimed design” and that “This principle is evident from the text of § 289,” which
 2    provides that “‘Whoever during the term of a patent for design … applies the patented design …
 3    to any article of manufacture ….’”
 4           67.     The D’305 patent includes two figures. The written description states that “FIG. 1
 5    is a front view of a graphical user interface for a display screen or portion thereof showing our
 6    new design,” and that “FIG. 2 is a front view of a second embodiment thereof.” The figures are
 7    further confirmation that the claimed design is intended to be applied to, or integrated into, an
 8    electronic device, specifically a smartphone. Each of the individual icons making up the claimed
 9    design demonstrate this, including for example, the icons for “Phone,” “Mail,” “Safari” (a web
10    browser), “Text,” and “YouTube,” among others. Rather than depicting generic icons, for
11    example, the D’305 design uses icons that convey specific functionalities. The figures of the
12    D’305 patent thus indicate that the design is not merely an arrangement of colorful placeholder
13    images that might be applied to any number of things, but rather specific applications intended to
14    be applied to a smartphone.7
15           68.     It is my opinion that a designer reading the D’305 patent would recognize that the
16    design claimed in the D’305 patent is intended for dynamic use in an electronic device such as a
17    smartphone.
18           69.     The Samsung products that have been found to infringe the D’305 patent are all
19    smartphones. I understand that Samsung contends that the article of manufacture is limited to
20    “the display screen while displaying the single, patented array of GUI icons,” and does not extend
21    to the device of which that display screen is a part and the operation of which is controlled by the
22    graphical user interface shown in the patent. I disagree for the reasons discussed in this report; I
23    also expect to address Samsung’s contentions in a reply report according to the schedule set by
24
      7
        See, e.g., Joswiak Dep. Tr. at 23:17-24 (Q. Does any part of what you see in D’305 show an
25    entire phone or device? A. It does. I mean, these icons launch things that are part of the phone.
      For example, that phone icon launches the communication aspect of an iPhone. The camera icon
26    launches the camera of the iPhone. This is a UI that doesn’t exist on its own; it exists as part of
      the iPhone.”); Howarth Dep. Tr. at 175:23-176:3 (“I mean, this is specifically to design the
27    iPhone. There's a -- there's a camera button on there so that you can access the camera and a
      phone so that you can phone. I mean, this is the -- this is the way you use our product.”)
28

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 1    the Court.
 2           70.     As noted, the Court has said that “the relevant article of manufacture may extend
 3    beyond the scope of the claimed design.” In addition, the Manual of Patent Examining Procedure
 4    explains that the article of manufacture to which the claimed design is applied may include
 5    portions depicted by broken lines: “Structure that is not part of the claimed design, but is
 6    considered necessary to show the environment in which the design is associated, may be
 7    represented in the drawing by broken lines. This includes any portion of an article in which the
 8    design is embodied or applied to that is not considered part of the claimed design.”
 9           71.     Samsung’s own experts from earlier phases of this case have also recognized that
10    the claimed design of the D’305 patent was intended for application to electronic devices such as
11    the iPhone and other smartphones. For example:
12                  Samsung expert witness Sam Lucente stated his opinion that “rectangular display,
13                   the icon grid, the icon dock, and the size, shape and number of the icons, and the
14                   status indicators, the icons (themselves), the words under an icon, all on a
15                   graphical user interface are fundamental, functional elements for human-computer
16                   interaction.” (March 23, 2012 Expert Report of Sam Lucente at 24 (emphasis
17                   added).) Mr. Lucente thus recognized that claimed design was not just an abstract
18                   image but rather was intended to be applied to a device “for human-computer
19                   interaction.”
20                  Samsung expert witness Mark Lehto likewise recognized that the patented design
21                   was to be applied to a phone such as the iPhone: “The specific arrangement shown
22                   of four rows and four columns in the rectangular display area provides easy access
23                   and readily identified control and display elements when implemented in an
24                   rectangular viewing area equal to or larger than that of the iPhone.” (March 22,
25                   2012 Expert Report of Mark Lehto at 22.)
26                  Mr. Lehto further recognized that the arrangement of icons in the D’305 design
27                   was directly connected to the usability of the “device” for which it was intended:
28                   the icons located in the bottom row of the design “controls perform common

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 1                   functions likely to be used by a large proportion of users, so placing them in this
 2                   lower row, close to where the thumb normally rests when holding the device
 3                   clearly serves a functional purpose by increasing usability of the device.” (Id. at
 4                   23.)
 5                  Mr. Lehto also noted that the patented design was intended to facilitate “operating
 6                   the device:” “the placement of a dock of frequently used controls on the bottom
 7                   end of the display screen is the most convenient location to access when operating
 8                   the device with a single hand.” (Id. at 24.)
 9                  Mr. Lehto also opined that the shape of the icons – squares with rounded corners –
10                   related to the application of the design to an electronic device: “the consistent
11                   form of the elements therefore has a functional purpose. For an electronic device
12                   with a touch screen, such as the iPhone, iPad, or iPod, this would imply that
13                   shapes of this type are all tappable. That is, tapping the shape will cause a
14                   function of the device to be activated.” (Id.) 8
15           72.     These statements confirm that just because the claimed design may not encompass
16    the entire article does not mean that only the claimed portions can be considered the article of
17    manufacture. The article of manufacture can and often does contain other, unclaimed features.
18           Cited prior art
19           73.     I have reviewed the patent prior art cited on the face of the D’305 patent. Most of
20    the cited patent references, including those cited by the patent examiner, refer to or depict
21    electronic devices such as phones or other mobile communication devices, computers, digital
22    cameras, data processors, a medical monitor, an image processing machine, a handheld terminal,
23    and a multimedia controller. Some of these references were cited by the Patent Examiner and
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25    8
        Although the foregoing statements from the Lehto report were in reference to Apple’s D’790
      patent, Mr. Lehto stated that they applied equally to the D’305 design: “The D’305 patent
26    includes what appears to be the same rectangular arrangement of elements as the D’790 design.
      The rectangular arrangement of square interface elements in the D’305 design plays an important
27    functional role, as discussed above in reference to the D’790 patent. Thus, D’305 design is
      functional for all the reasons set forth above.” (Id. at 25.)
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 1    some by the inventors, indicating that both viewed the claimed design as being applied to an
 2    electronic device, such as a phone. In my opinion, a designer of ordinary skill in the art
 3    considering the cited references would similarly view the D’305 patent in the same way.
 4           74.     More than half a dozen of the cited references are design patents obtained by
 5    Samsung. These patents further serve to support my opinion that the article of manufacture for
 6    the D’305 patent is an electronic device, specifically a phone. To take just one example, U.S.
 7    Patent No. D559,261 is assigned to Samsung Electronics Co., Ltd., and the named inventors are
 8    Min-Hwa Jung and Ho Kim. The D’261 patent is entitled “Generated Image for Display on a
 9    Portable Telephone.” Like the D’305 patent, Samsung’s D’261 patent claims only the
10    “ornamental design for a generated image for display on a portable telephone,” as shown below:
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21           75.     Although the claim is limited to the design within the rectangle shown above, the
22    drawings actually make clear that the product to which the design is applied is a portable phone,
23    as shown here in Figure 1 of the D’261 patent:
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             76.     The D’261 Samsung patent, and the other Samsung patents cited on the face of the
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      D’305 patent, are further confirmation for my opinion that it is not ambiguous – the article of
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      manufacture to which the design claimed in the D’305 patent is applied is the entire phone.
24
             The prosecution history
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             77.     The prosecution file of the D’305 patent does not affect analysis of the scope of
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      the design claimed in the patent. The application originally included 194 figures, and the
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      examiner imposed a restriction requirement, dividing the 194 embodiments into 128 groups. In
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 1    the application that ultimately issued as the D’305 patent, the applicants elected the single figure
 2    that became figure 2 of the D’305 patent, and cancelled the other 193 figures. Figure 1, the color
 3    version of figure 2, was added during prosecution according to Patent Office procedures for color
 4    figures. Other than these technical matters, the application was approved and the examiner did
 5    not make any substantive comments on the claimed design itself.
 6             Apple’s development of the D’305 patent
 7             78.    Additional evidence also supports that the D’305 patent describes an ornamental
 8    design intended for application in an entire electronic device, such as a smartphone. Apple’s
 9    designers invented the claimed design as part of their work in inventing and developing the
10    original iPhone. Apple’s designers envisioned and described their claimed design for a particular
11    product—the iPhone—and did not merely describe or claim a design in the abstract. In other
12    words, they created the D’305 design to be applied to an electronic device such as a phone, just as
13    Samsung has done in the case of its infringing phones.9
14             79.    Imran Chaudhri, one of the inventors of the D’305 patent, testified that he knew
15    that the icons and home screen he was working to design was intended for the phone that later
16    was named the iPhone. (Oct. 14, 2011 Deposition Transcript of Imran Chaudhri at 123:1-24:7.)
17    In laying out the design of the screen, his goal was to make the device easier and faster to use.
18    (Id. at 135:5-39:3.) The design of the phone icon, for example, was effective to communicate to
19    users that the icon would launch the phone function of the device. (Id. at 170:23-172:11.)
20             80.    Freddy Anzures, another inventor of the D’305 patent, testified that from the start
21    of his work that led to the D’305 design, he knew that he was “going to be working on a phone.”
22    (Oct. 18, 2011 Deposition of Freddy Anzures at 10:11-20.) Mr. Anzures elaborated on how
23    integral the D’305 design was to the product it was designed for, the iPhone:
24                   “the team really worked hard to come up with something that, even though it was a
25                    completely new product, that was counterbalanced by this very familiar and
26                    intuitive visual look so that it wouldn’t scare anyone.” (Id. at 57:8-13.)
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          See paragraphs 95 to 98 below regarding Samsung’s design process.
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 1                  For example, the gear of the settings icon was intended “to show that this was the
 2                   way to get to the insides of the phone.” (Id. at 182:7-183:9.)
 3                  Likewise, one reason that the “dock” was located at the bottom of the design was
 4                   so “it can be reached by the user’s thumb while still holding the device with one
 5                   hand.” (Id. at 89:23-90:9.)
 6           81.     Mr. Anzures explained that the goal for the icon design and display was “to create
 7    things for the products to kind of marry that familiarity in what they see in the real world into
 8    something that’s on the product.” (Id. at 63:13-64:4.)
 9           82.     As discussed above, Apple’s original iPhone, iPhone 3G, iPhone 3GS, and
10    iPhone 4 practice the D’305patent. For each of those products, Apple applied the claimed design
11    to the entire smartphone product and not merely to a component or components of the product.
12           Factor 2: “The Relative Prominence of the Design Within the Product as a Whole”
13           83.     The second factor considered in the article of manufacture analysis is “the relative
14    prominence of the design within the product as a whole.” For the reasons discussed below, it is
15    my opinion that the D’305 design is one of the most prominent features of the infringing products
16    as a whole. This factor therefore supports the conclusion that the article of manufacture is the
17    entire phone for each Samsung phone found to infringe the D’305 patent.
18           84.     The D’305 design is prominent in Apple’s original iPhone, iPhone 3G, iPhone
19    3GS, and iPhone 4. The unique array of colorful icons making up the GUI is a feature that stands
20    out and dominates when viewing and using the iPhone products. They are a significant part of
21    what defines the iconic “look and feel” of the iPhone.
22           85.     The design claimed in the D’305 patent has become so iconic that it is often used
23    to represent the concept of a smartphone. In a quick sketch, or when creating an image with just a
24    few strokes, the D’305 design has become a visual shorthand to illustrate a smartphone. Also,
25    stylized versions of the D’305 are now commonly represented in generic smartphone images in
26    clip art, and in cartoons in popular culture. See below for examples of stylized images of the
27    D’305 design, for example:
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      These examples demonstrate the prominence of the D’305 design as an identifying aspect of the
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      product as a whole. The distinctive design of the D’305 is already interwoven in the culture to
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      mean smartphone. Even Homer Simpson’s smartphone reflects the D’305 design.
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             86.     The prominence of the D’305 design is also evident in Apple’s marketing of the
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 1    iPhone. Apple’s advertising showcased the product as a whole and often featured D’305 design
 2    (as well as others). Apple adopted a strategy to emphasize its products in marketing, what it
 3    called the “product as hero” approach.10 Greg Joswiak, Apple’s Vice President of Product
 4    Marketing testified about the role of the D’305 design in Apple’s advertising: “It's the launching
 5    point for the, for launching your apps off an iPhone, and we most often used it as the identity of
 6    the hero image, if you will, of the iPhone.” (Joswiak Dep. Tr. at 25:14 – 17.) The emphasis on
 7    the product was reflected in the guidelines for advertisements of the iPhone. Those guidelines
 8    state: “In all iPhone marketing communications, the product is the hero. Show it front and center
 9    in all layouts.” (APLNDC0002008363-2008405 at APLNDC0002008368.) The guidelines also
10    provided “hero images” of the iPhone to be used in advertisements, each of which prominently
11    shows the front face of the iPhones:
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22      Dkt. 2841 (Nov. 15, 2013 Trial testimony of Phil Schiller) at 824:8-22 (“Q: Are you familiar
      with an instruction "product as hero"? A. Yes. Q. What is product as hero, sir? A. It's a saying
23    we use in marketing at apple that when we're marketing our product, it's all about the product.
      We want the customer to see the product, understand it, hopefully love it like we do. So we make
24    most all of our marketing have the product as the hero of the ad. It's not screens with people. It's
      not lifestyle situations. It's the product that's most focused on in all the marketing. Q. And why
25    does that work for you? A. Because the product is really beautiful and really unique. Those are
      the things that allow us to have this entire marketing strategy.”); see also Joswiak Dep. Tr. at
26    100:25-101:4 (“[A]ny time we have the iPhone as the hero, you know, it’s, I like that. I think it
      shows the beauty of the iPhone, as well as showing you these apps, and it’s just something I
27    always liked.”).

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 2           The following advertisement is exemplary (PX11.2):
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11    In addition, PX12 summarizes television advertisements for the iPhone, and many of the ads for

12    the iPhone, iPhone 3G and iPhone 3GS featured views of the D’305 design, including the ads

13    entitled "Never Been," "Calamari," "How To" (also PX127), "Surprised," "Watered Down," "All

14    These Years," "Amazing OK Go," “Instead,” “All the Parts,” “The Winger,” "Brilliant," "Music

15    Store," "Bet," "Facebook," "Cars," "The Great Thing," “Vicinity,” “Work Friendly,” “Unslow,”

16    “Lonely Planet,” "Cro-Mag," "Everyone," "Loopt," "Game Changer," "Shazam," "Urban Spoon,"

17    "Check," "Fix," "Read," "Student,” "Office," "Itchy," "Break In," "Skateboard," "Travel," "Nature

18    Lovers, Pizza Lovers," "Avid," "Dine In, Dine Out," "Voice Control," "Share," "Copy and Paste,"

19    "Pass Test, Pass Time," “Gift,” "Song," "Multipeople," "Where's the Movie," "12 Apps of

20    Christmas," "Family Travel," "Backpacker," "Dog Lover," "Shopper," "Concert," "Commute,"

21    and "Family Man." (See PX12 underlying evidence.)

22           87.    Apple’s packaging also featured images of the iPhone’s D’305 design, as shown in

23    the following photograph of the box for an iPhone:

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10           88.    The prominence of the D’305 design is also evident in images of the iPhone found
11    in popular media. PX14 summarizes 11 appearances of the iPhone in television shows from 2007
12    to 2010. Of the 11 examples listed, 10 include images of the GUI design patented by the D’305
13    patent. PX17 summarizes news coverage of the iPhone; many of the news items featured images
14    of the iPhone displaying the patented D’305 design. (See “Apple Unveils All-In-One iPhone,” by
15    Ellen Lee, San Francisco Chronicle, January 9, 2007; “Apple Waves Its Wand at the Phone,” by
16    David Pogue, New York Times, January 11, 2007; “Testing Out the iPhone,” by Walter S.
17    Mossberg and Katherine Boehret, The Wall Street Journal, June 27, 2007; “Best Inventions of
18    2007,” by Lev Grossman, Time, November 1, 2007; “Newer, Faster, Cheaper iPhone,” by Walter
19    S. Mossberg, Wall Street Journal, July 9, 2008; “Apple’s New iPhone 3G; Still Not Perfect, but
20    Really Close,” by Edward Baig, USA Today, July 10, 2008; “Upgrade Makes Great iPhone Even
21    Better,” by Edward Baig, USA Today, June 18, 2009; “Thinner, Faster, Smarter iPhone Raises
22    the Stakes,” by Walter S. Mossberg, Wall Street Journal, June 20, 2010; “Review: Apple Makes
23    All the Right Calls on iPhone 4,” by Edward Baig, USA Today, June 24, 2010.) These include
24    Time Magazine’s award of Invention of the Year honors to the iPhone. (PX135.)
25           89.    One of Apple’s experts for the 2012 trial, Mr. Musika, prepared a table, Exhibit
26    24, that details examples of demand for and importance of design in selling smartphones. The
27    sources of evidence summarized in this exhibits include the following: Apple advertising
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 1    materials, Samsung advertising materials, Samsung product development and planning
 2    documents, Samsung strategy documents, survey data, third-party market and consumer analysis,
 3    testimony and email from representatives of the parties, and other evidence related to the patents-
 4    in-suit, including the D’305 patent, and the infringing Samsung products. Many of the items on
 5    the table specifically cited the user interface design and/or icons, including numbers 1, 3, 20, 21,
 6    22, 24, 27, 48, 71, 74, 77,78, 82-86, 88, 89, 91, 95, and 97. (A copy of the Musika exhibit is
 7    attached hereto as Exhibit 23.)
 8           90.     It is also apparent that Apple considered the claimed design of the D’305 patent to
 9    be a prominent and important feature of the iPhone as a whole, as well as of the infringing
10    Samsung phones. Apple made a presentation to Samsung in August 2010, soon after Samsung
11    introduced the first of its infringing phones. (PX52.) Apple’s presentation included a slide
12    entitled “Samsung Copying iPhone,” which showed an image of the Galaxy S product displaying
13    the infringing design of the D’305 patent, side by side with an image of an iPhone 3GS with
14    home screen displayed, as shown here:
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 1           91.     Apple’s contemporaneous reference to “Samsung Copying iPhone,” supported by
 2    images of Apple and Samsung phones displaying the patent D’305 design, supports my view that
 3    the D’305 design is a prominent feature of the iPhone as well as of Samsung’s infringing phones.
 4    Boris Teksler, then Apple’s Director of Patents and Patent Licensing, testified that this
 5    presentation relied on the patented GUI design to convey “the remarkable similarity of the two
 6    products, all the way from the overall appearance of the product down to the arrangement, the
 7    four-by-four arrangement of the icons, the similarity of the icons, the persistent dock that you
 8    have at the bottom that doesn’t change with the screens.” (Dkt. 1695 (Aug. 10, 2012 Trial
 9    Transcript) at 1960:18-1961:5.)
10           92.     While the exterior design of the infringing Samsung phones is also a prominent
11    feature of the infringing products, the design of the graphical user interface in the infringing
12    Samsung phones is a comparably prominent feature. At the time when the iPhone was still a
13    relatively new product, and when Samsung began to introduce its infringing phones in 2010 and
14    2011, the unique design for a graphical user interface claimed by the D’305 patent, and
15    appropriated by the infringing Samsung phones, was a striking feature of those products. The
16    patented GUI design, together with the exterior design also patented by Apple and infringed by
17    Samsung, was a prominent aspect of the overall design of the infringing Samsung phones. The
18    overall effect of the hardware and graphical user interface makes a distinctive whole – both as
19    patented by Apple and infringed by Samsung.
20           93.     The unique GUI design of the D’305 patent dominates the perspective that is most
21    often viewed when the phone is being used. An ordinary observer would recognize the product
22    by seeing the striking design of the GUI.
23           94.     I also reviewed and considered internal Samsung documents, deposition testimony,
24    and comments made by industry reviewers and consumers as evidence relevant to how an
25    ordinary observer would perceive the infringing design of the D’305 patent with respect to the
26    Samsung infringing products as a whole. This evidence provides further support for my opinion
27    that the infringing design of the D’305 patent is quite important to the Samsung infringing
28    products as a whole.

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 1           95.     When Samsung marketed the infringing phones, it did so in a way that showcased
 2    not only the exterior design of the phones but also the infringing design of the graphical user
 3    interface. For example, the packaging of many of the infringing Samsung phones showcased
 4    images displaying the patented design of the D’305 patent:
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22           http://www.fonearena.com/blog/19963/samsung-galaxy-s-unboxing-pictures.html
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             In another example, marketing materials for the Fascinate included images of the phone
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      displaying the infringing design of the D’305 patent:
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15    (SAMNDCA00312148. See also SAMNDCA00312145.)

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             96.     When Samsung released the infringing phones, several articles recognized the
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      claimed design of the GUI as integral to the products as a whole and as a basis for their overall
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      similarity to the iPhone. Examples of this include a Wired magazine article dated July 15, 2010,
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      entitled “First Look: Samsung Vibrant Rips Off iPhone 3G Design.” The Wired article depicted
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      the Samsung Vibrant phone side-by-side with the iPhone and noted that “the square icons are,
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      again, very similar in their looks to the iPhone 3G’s.” (PX174.) A review of the Samsung
22
      Galaxy S in Techradar.com, dated July 20, 2011, depicted the application screen of the infringing
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      phone and commented that “the Samsung Galaxy S and iPhone 3G/3GS could very easily have
24
      been separated at birth” (APLNDC-Y0000237361-71.) PX6 summarizes additional press reports
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      commenting on the design of the Samsung infringing phones; in particular a PCWorld article
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      dated June 29, 2010, entitled “Samsung Galaxy S: How Does It Measure Up to the
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      Competition?,” includes an image of the phone displaying the infringing D’305 design (PX175),
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 1    and a July 20, 2010 review of the Samsung Vibrant in Laptop Magazine likewise featured an
 2    image of the phone presenting the infringing D’305 design.
 3           Samsung’s design of the infringing phones
 4           97.    Samsung’s design approach for the infringing phones also indicates that the D’305
 5    design is prominent within the products as a whole. Samsung expert witness Sam Lucente
 6    reviewed all of the evidence and concluded that “icon layout, icon container and icon metaphors”
 7    were “factors related to design problem solving” that ‘drove Samsung’s overall design solution”
 8    for the “accused products.” (April 17, 2012 Corrected Rebuttal Expert Report of Sam Lucente at
 9    10.)
10           98.    Samsung designer Jinsoo Kim testified that “Samsung consider[ed] overall design”
11    when designing the infringing phones. (Dec. 19, 2017 Deposition Transcript of Jinsoo Kim (“J.
12    Kim Dep. Tr.”) at 30:18-31:12, 86:11-24.) Samsung’s designers sought to create “one design.”
13    (id. at 87:10-88:24.) Samsung designer Jeeyuen Wang testified that when designing a user
14    interface, she knew she was designing for a phone and would take took into consideration the size
15    of the display screen and the number of pixels available on the display. (Dec. 20, 2017
16    Deposition Transcript of Jee-Yeun Wang (“Wang Dep. Tr.”) at 55:15-24.)
17           99.    Justin Denison, Samsung America’s Senior Vice President of Marketing for
18    Mobile Phones, explained Samsung’s philosophy of “holistic design,” “how in this particular case
19    Samsung is bringing together the thousands of technology, the hundreds of parts, the millions of
20    lines of code, to create, you know, a beautiful end product.” (Dec. 20, 2017 Deposition
21    Transcript of Justin Denison (“Denison Dep. Tr.”) at 93:11-18.)
22           100.   Samsung’s executives also recognized the importance of the user interface design
23    to the products as a whole. In a February 2010 internal email circulated within Samsung’s mobile
24    communications division summarizing an “Executive-Level Meeting Supervised by Head of
25    Division,” Samsung concluded that “The iPhone has become the standard,” and they needed to
26    “make something like the iPhone.” (PX40.) Samsung’s Head of Mobile Division stated: “when
27    our UX is compared to the unexpected competitor Apple’s iPhone, the difference is truly that of
28    Heaven and Earth. It’s a crisis of design.” (Id.) A March 2010 Study by the Mobile Marketing

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 1    Group noted that “high-end consumers … focus not only on the external design but on the UX
 2    design and usability.” (SAMNDCA00196646-196827 at SAMNDCA00196658.) As noted
 3    above, another internal Samsung study document from March 2010 contained multiple pages that
 4    directly compare the iPhone’s icon grid with icon grids that look very similar to the applications
 5    screens of the Samsung Phones analyzed above. (PX44.)
 6           101.     A number of studies commissioned by Samsung also focused on the prominence
 7    of the user interface design claimed in the D’305 patent. A Boston Consulting Group
 8    presentation prepared for Samsung entitled “Lessons from Apple” dated November 3, 2010, and
 9    discussed in item 83 of Exhibit 24-S (Exhibit 23), notes that “Apple’s sleek and intuitive user
10    interface has been a key driver of its value proposition,” including its “clean, beautiful interface”
11    and “clean menu screens.”11
12           Factor 3: “Whether the Design Is Conceptually Distinct from the Product as a
             Whole”
13

14           102.     The third factor considered in the article of manufacture analysis is “whether the
15    design is conceptually distinct from the product as a whole.” For the reasons discussed below, it
16    is my opinion that the D’305 is not conceptually distinct from the product as a whole; it is
17    completely integrated into the product as a whole. This factor therefore supports the conclusion
18    that the article of manufacture is the entire phone for each Samsung phone found to infringe the
19    D’305 patent.
20           103.     The concept of the design claimed by the D’305 patent is a graphical user interface
21    for use in the iPhone. Rather than being conceptually distinct, the claimed design was always
22    conceived as being fully integrated into the iPhone. Richard Howarth, a twenty-plus year Apple
23    employee and senior member of the industrial design team, testified regarding the D’305 design:
24    “this is specifically to design the iPhone. There's a -- there's a camera button on there so that you
25    can access the camera and a phone so that you can phone. I mean, this is the -- this is the way
26
      11
        PX54.13 (“Apple's sleek and intuitive user interface has been a key driver of its value
27    proposition . . . Clean, beautiful interface. Clean menu screens. Intuitive, user-friendly navigation
      & visual elements).
28

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 1    you use our product.” (Howarth Dep. Tr. at 175:23-176:3.) Greg Joswiak also testified to the
 2    conception connection between the D’305 design and the phone:
 3

 4           Q. Does any part of what you see in D’305 show an entire phone or device?
 5           A. It does. I mean, these icons launch things that are part of the phone. For example, that
 6           phone icon launches the communication aspect of an iPhone. The camera icon launches
 7           the camera of the iPhone. This is a UI that doesn’t exist on its own; it exists as part of the
 8           iPhone.
      (Joswiak Dep. Tr. at 23:17-24.)
 9

10           104.    Likewise, Samsung’s infringing use of the D’305 design was conceived from the
11    beginning of the development of the infringing phones as intended for and integrated into those
12    infringing phones, and not some distinct purpose or use. (See testimony of J. Wang, cited above.)
13           105.    The bitmap features of the D’305 design for the GUI echo the physical features of
14    the iPhone and the infringing devices, illustrating that the patented design is conceptually integral
15    to the products that incorporate it. Discussing the iPhone, Richard Howarth explained that on the
16    front of the product , “the bezel is continuous to hold the whole product together, visually as well
17    as physically” because the visuals are part of what unites the product. The D’305 design is part of
18    the total conceptual whole of the “unboxing” experience that Apple created for the consumer.
19    The consumer opens the package to reveal a refined product that is sleek, shiny and smooth;
20    every element is essential. When the consumer turns it on, the resulting aesthetic experience is a
21    continuation. The icons of the D’305 GUI – with their high resolution, photorealism, and
22    simulated metallic texture – emulate the metallic, shiny surface of the phone’s exterior. Mr.
23    Howarth described how during the phone’s development, Steve Jobs delighted in the role of
24    design “middleman” so graphic designers had “the latest” from industrial designers, and vice
25    versa. Because the GUI group worked above the industrial design group, Howarth quoted Jobs as
26    saying, e.g., “Can I borrow this and take it upstairs?” — and sharing the latest drawing or
27    prototype, which would ensure a consistent point of view on visual design. Thus, the rounded
28

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 1    rectangular shape of the icons in the D’305 screen design is repeated on the physical home button.
 2    The former was designed by the user interface team, while the latter was designed by the
 3    industrial design team, with the result illustrating their close collaboration. And the black
 4    background of the D’305 GUI design matches the black face of the phone, seamlessly integrating
 5    the physical hardware with the software. In addition, the D’305 GUI design implements the
 6    multi-touch functionality that was introduced with the iPhone. The design language of the GUI
 7    pairs with the visual characteristics of the phone’s industrial design. In fact, the GUI designers
 8    were able to design icons within a virtual mockup of the hardware bezel on their monitors, and
 9    were simultaneously able to view the development of the D’305 design on a prototype iPhone
10    display (powered by an attached circuit board). From the outset, the D’305 was designed in
11    tandem with the hardware. At Apple, the hardware and software for a product are not thought of
12    as two different realms, but rather are developed together and designed to work together
13    seamlessly.
14           106.    When viewing the D’305 design, an ordinary observer would recognize that it is
15    not merely a collection of shapes and colors, but rather a holistic design for a device interface.
16    The D’305 design is always associated with a phone (whether Apple’s iPhone or Samsung’s
17    infringing phones), never separately. It is not a product assembled cafeteria-style at purchase.
18           107.    The D’305 design corresponds to portions of the product a user must manipulate to
19    use the phone as a whole. The user’s primary interaction when operating the device is through
20    the graphical user interface, the design for which has been found to infringe the D’305 patent. In
21    the iPhone, “It’s the fundamental starting point for using an iPhone, launching the apps. It’s
22    obviously part of the identity of the iPhone.” (Joswiak Dep. Tr. at 24:24 – 25:1.) The same is
23    true of the infringing Samsung phones—the application screens are the jumping point for
24    accessing all applications. This is key to the user experience. Conceptually it is inseparable from
25    the product as a whole from the user’s perspective.
26           108.    The graphical user interface has no value apart from the infringing phones as a
27    whole. Indeed, yet another reason the design of the GUI is not “conceptually distinct” from the
28    infringing products as a whole is because without the graphical interface one could not operate

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 1    the product or access any of its other features. Apple’s Vice President of Procurement, Tony
 2    Blevins, put it this way: “Well, as a matter of fact, all of the components in an iPhone are
 3    essential or it won't function. We don't put them in there for no reason. Every component is
 4    necessary. … Every component is necessary in order for the device to function, and if the device
 5    isn't functioning, then there is no active user interface.” (Dec. 17, 2017 Deposition Transcript of
 6    Tony Blevins at 221:7-20.)12
 7           109.    Samsung’s design of the infringing phones indicates that the D’305 design is not
 8    conceptually distinct from the phone as a whole. Jeeyuen Wang, who was involved in the GUI
 9    design for some of the infringing phones, testified that when designing user interface screens at
10    Samsung she uses a “dummy frame” – an LCD device with a power cable and protective frame –
11    to view her designs. (Wang Dep. Tr. at 35:19-36:14, 39:11-40:1.) That the infringing GUI
12    designs were developed using this type of emulator confirms that the intention was always for
13    these designs to be an integral part of the phones themselves. As noted above, Samsung also
14    employed a holistic design process to the phones found to infringe. See paragraph 97 above.
15           110.    Likewise, Samsung’s copying efforts, described above, included the entirety of the
16    iPhone, noting that certain Samsung phones were found to infringe not only the D’305 patent but
17    also one or both of the D’087 and D’677 patents as well. When Samsung’s Head of Mobile
18    Division pronounced that Samsung faced “a crisis of design,” the solution did not focus on any
19    single component. Rather, it was, “make something like the iPhone.” (PX40.)
20

21

22    12
        See also Howarth Dep. Tr. at 175:15 – 176:3 (“Q. Can you use a user interface outside of the
      phone itself? A. No. No, there would be no use. I mean, this is specifically to design the
23    iPhone. There's a -- there's a camera button on there so that you can access the camera and a
      phone so that you can phone. I mean, this is the -- this is the way you use our product.”); Joswiak
24    Dep. Tr. at 20:20-21:23 (“I mean, the display screens don't exist just on their own, right? They
      are part of a product. This is the UI for our iPhones and iPod Touch. . . . Actually, this one in
25    particular is the iPhone. Q. So, the language where it says, for a display screen or portion
      thereof, as shown and described, in your view, is incorrect? A. Well, again, UIs don't float by
26    themselves, right? They are part of a product, and this was the UI for our iPhones.”; id. at 23:9-
      11 (“Again, UIs don’t exist on their own. They exist as part of a product. This exists as part of
27    the iPhone.”); id. at 24:3-16 (“A. Again, it's self-evident that UIs don't exist just on their own.
      They exist as part of products.”)
28

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 1           Factor 4: “The Physical Relationship Between the Patented Design and the Rest of
             the Product”
 2

 3           111.    The fourth factor considered in the article of manufacture analysis is “the physical

 4    relationship between the patented design and the rest of the product, including whether the design

 5    pertains to a component that a user or seller can physically separate from the product as a whole,

 6    and whether the design is embodied in a component that is manufactured separately from the rest

 7    of the product, or if the component can be sold separately.” For the reasons discussed below, it is

 8    my opinion that this factor supports the conclusion that the article of manufacture is the entire

 9    phone for each Samsung phone found to infringe the D’305 patent.

10           112.    The graphical user interface that embodies the D’305 design in the Samsung

11    products is not a physical thing, and therefore does not have a separate physical existence apart

12    from the phones in which it is found. How would it be possible to separate, and sell, the screen

13    represented by the D’305? It is the glowing, backlit face of the phone. The Samsung phones

14    determined to infringe the D’305 patent are all unitary devices. The phones are not modular, and

15    are not designed to be taken apart by consumers or the typical user (who is not a hardware

16    engineer). In particular, the graphical user interface that embodies the D’305 design is not a static

17    image; it exists as software – a coded set of instructions to the processor – and does not exist apart

18    from, and cannot be separated from, the infringing Samsung phones.

19           113.    The physical relationship between the portion of the infringing phones that

20    embody the patented D’305 design – the graphical user interface on the application screens – and

21    the rest of the product is entirely integrated and inseparable. Without the patented GUI, the rest

22    of the product would be useless. Conversely, an image of the user interface itself would be

23    useless. The GUI is not separate from the rest of the product, it is inextricably bonded with the

24    product. In fact, the notion of physically separating the GUI from the thing on which it operates

25    and interacts makes little or no sense.

26           114.    I understand that Samsung contends that a user could separate the display screen

27    from the infringing phones, and that this somehow demonstrates that the infringing GUI design is

28    separable. I disagree, and Samsung’s contention does not show that the patented design is


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 1    separable. Neither part is useful without the other. The patented D’305 design itself simply
 2    cannot be separated from the phone – it is either displayed on the phone, or it does not exist.
 3    There is nothing separable or physically distinct about it. Moreover there would be no reason to
 4    try to separate the GUI from the rest of the phone, as it would make no sense because the GUI
 5    would serve no purpose if separated from the phone it is intended to interact with. There is no
 6    separate use for the patented design of the GUI apart from being used in the infringing phones.
 7           115.    Samsung sold the infringing products as a whole, and does not sell the infringing
 8    GUI embodying the D’305 patent separate from the rest of the phone. Samsung’s witnesses
 9    confirmed that Samsung’s mobile division is in the business of selling phones, not components of
10    phones, and certainly not graphical user interfaces. For each Samsung product found to infringe
11    the D’305 patent, the D’305 design is not a component that a buyer or seller can physically
12    separate from the product as a whole in the normal course.13
13           116.    Samsung’s marketing was also directed to selling the infringing phones as a whole.
14    For example, Samsung’s print and television advertisements were for the infringing phones as a
15
      13
16       See, e.g., Dec. 13, 2017 Deposition Transcript of Drew Blackard (“Blackard Dep. Tr.”) at
      128:2-7 (“Q. For each of those channels that you've described -- carriers, retail locations,
17    individual customers, enterprise -- Samsung sells finished phones, correct? A. Yeah, we would
      sell, you know, complete phones to those people.) Id. at 157:14-23 (“Q. The phone division, sir.
18    The phone division does not sell displays to individual customers, correct? A. Yeah. In my
      recollection, we don't have like a direct display that a consumer will buy. We sell direct displays
19    to companies who can provide them via end products or, you know, other ways. Q. But not to
      individual customers, right? A. Not to my knowledge.”).
20
      Dec. 14, 2017 Deposition Transcript of Timothy Sheppard at 56:20-57:8: (“Q. The object that's
21    in there [the box with the Droid Charge components], did you ever sell that to Verizon? A. This
      individual component would have not been sold separately without the glass to Verizon. But they
22    would have been able to purchase the service from Samsung for us to replace the glass and
      recover this component; or if the glass was good, sell them this part of the component. Q. And I
23    take it that the answer is also true that you -- you didn't sell anything to consumers, that that
      object was not sold to consumers? A. This individually, no. This level of repair component was
24    not sold to the end consumer, correct.”). Id. at 134:20-22 (“A. Well, when we sold phones to
      carriers or consumers, we didn't sell it as a modular kit to assemble at home; we sold a finished
25    product.”)
      Dec. 22, 2017 Deposition Transcript of Dongwook Kim at 23:6-21: (“Q. Has Samsung ever sold
26    any part or component of these infringing phones separately from the phones themselves? …A.
      Though I don't think we sell parts directly, I think we do sell to service parts. Q. What do you
27    mean that Samsung does not sell parts directly? A. These parts are -- the parts are important parts
      to the models, and my understanding is that there is a ban on selling them separately.”)
28

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 1    whole, not components of those phones.14 I am aware of no instance in which Samsung
 2    advertised the infringing GUI embodying the D’305 design separate from the infringing phones.15
 3            117.    I am not aware of Samsung or any sellers ever separating the infringing GUI from
 4    a phone. While Samsung alleges that the GUI with the infringing D’305 design can be deleted
 5    from the phone, that particular copy of the GUI will then no longer exist – it is not separated, it is
 6    destroyed in that hypothetical. In my view, destroying the patented design does not establish that
 7    it could exist separately.
 8    XI.     CONCLUSION
 9            118.    For the reasons discussed in this report, it is my opinion that the article of
10    manufacture to which Samsung applied Apple’s patented design is the entire phone for each
11    Samsung phones found to infringe the D’305 patent, and not just a component or components of
12
      14
13       See, e.g., Blackard Dep. Tr. at 160:18-161:25 (“Q. Again, setting aside the repair program for
      broken phones, Samsung does not market the components in the third box to end customers for
14    phones, correct? … A. What do you mean by "market the components"? I mean, we don't -- we
      do market the components. We market display quality and resolution. We market screen
15
      durability and strength. We market our design innovation. Q. (BY MR. MUELLER) And you
16    market all that as part of a phone. I'm saying you don't market those as stand-alone components,
      correct? … A. Yes, as -- as stand-alone individual items, you know. We tend to only market the
17    ones that we talked about before. Q. (BY MR. MUELLER) Batteries and memory? A. In this
      time frame. Q. The last box here is A0000029CDCB34. And what's in this box, sir? A. Looks
18    like a display glass and a display panel. Q. And, again, the same question: Samsung hasn't
      marketed those components as stand-alone components for phone users, correct? … A. Yeah. I
19
      mean not beyond the scope that we previously talked about for -- for repairs and as kind of
20    individual value adds.”) Id. at 162:9-163:1 (“Q. Samsung has not marketed these components as
      stand-alone components to phone users, correct? … A. Yeah. I mean, I'll just repeat what I said
21    there, is that we obviously market the components to companies as display divisions and other
      divisions. We have marketed components to consumers. We've marketed these components to
22    consumers as their individual attributes; we have not marketed like the component itself to end-
23    users. Q. (BY MR. MUELLER) To end-users have been marketed in the context of the phone,
      right? … A. Yes. It would be part of the overall value proposition.”).
24
      15
25       See J. Kim Dep. Tr. at 92:22-93:3 (“Q. Has Samsung ever advertised the graphical user
      interface of the infringing phones shown on Exhibit 8 separately from the rest of the
26    phones? …A. I don't think I've seen the icon being advertised separately.”)
      Denison Dep. Tr. 86:16-21 (“Q. Have you ever seen an ad depicting something that looks like
27    the part in the fourth box? A. I cannot remember an advertisement that shows the piece of the
      phone that's shown in the fourth box.”)
28

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 1    the phone such as “the display screen while displaying the single, patented array of GUI icons,”
 2    as Samsung contends. The infringing phones, in their entirety, are the things that Samsung sold
 3    and that embody Samsung’s use of Apple’s patented D’305 design.
 4    XII.    SUPPLEMENTATION
 5            119.    I reserve the right to supplement this report with new information and/or
 6    documents that may be discovered or produced in this case.
 7    XIII. EXHIBITS TO BE USED
 8            120.    I anticipate using as exhibits during trial certain documents and things referenced
 9    or cited in this report or accompanying this report. I also anticipate using other demonstrative
10    exhibits or things at trial.
11

12    Dated: January 15, 2018
                                                    Susan D. Kare, Ph.D.
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      la-1368636
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                    Exhibit 1
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Susan D. Kare
1 Presidio Avenue
San Francisco, CA 94115
kare.com
kareprints.com
@susankare (Twitter)

Education
MA, Ph.D. New York University
BA Mt. Holyoke College, summa cum laude

Work experience
2015 - present         Creative Director, Pinterest
1987 - present         Partner, Susan Kare Design
2007 - 2010            Designer, Facebook virtual gifts (contract)
2007 - 2010            Creative Director, Chumby Industries
1990 - 1994            Creative Director, General Magic
1988 - 1989            Graphic Designer, Microsoft Windows 3.0 (contract)
1986 - 1988            Creative Director, NeXT
1982 - 1986            Macintosh Artist; Creative Director, Apple

Additional information
2018                  AIGA Medal (to be awarded April 20, 2018)
2016                  Work acquired by MoMA, New York and San Francisco MoMA
2011                  Partner, Kareprints.com; fine art icon prints
2004                  Designer, retail merchandise, MoMA, New York
2003 - 2004           Citizens Coinage Advisory Committee, United States Mint
2002 - 2015           Board of Directors, Manhattan Toy Company
2001                  Chrysler Design Award

Partial list of past and current clients
Apple                     Intel
Areaware                  Joi Ito
AT&T                      Microsoft
Autodesk                  Motorola
BBDO                      Museum of Modern Art, New York
Cisco                     Nest Labs/Google
Curbside                  Nokia
Danger                    Oracle
Dribbble                  Path
Dropbox                   Paypal
Electronic Arts           Sequoia Capital
Facebook                  Swatch
Fossil/Metawatch          Thomson Reuters
General Magic             Yale Surf Team
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                                       Documents Considered by Susan Kare

Doc. Date                       Doc. Description                       BegBates   EndBates
 6/1/2012 Declaration of Susan Kare In Support of Apple's Opposition     N/A        N/A
          to Samsung's Motion for Summary Judgment
3/22/2012 Ex.1 to Decl. of Kare ISO Apple's Objs. To Samsung's MSJ.      N/A        N/A
          Expert Report of Susan Kare
4/16/2012 Ex. 2 to Dec. of Kare ISO Apple's Objs. To Samsung's MSJ.      N/A        N/A
          Rebuttal Expert Report of Susan Kare
6/26/2012 Declaration of Susan Kare In Support of Apple's Response       N/A        N/A
          to Samsung's Opening Memo re Design Patent Claims

3/22/2012 Ex. 1 to Decl. of Kare ISO Apple's Resp. to Samsung's          N/A        N/A
           Opening Memo re Design Patents. Expert Report of Susan
           Kare
4/16/2012 Ex. 2 to Decl. of Kare ISO Apple's Resp. to Samsung's          N/A        N/A
           Opening Memo re Design Patents. Rebuttal Expert Report
           of Susan Kare
4/27/2012 Kare Deposition (Full and Compressed)                          N/A        N/A
4/27/2012 Kare Dep. Exhibit 1 Susan Kare User Interface Graphics         N/A        N/A
           Screen Shot
 6/8/2010 Kare Dep. Exhibit 2 US D617,334 S Design Patent                N/A        N/A
11/17/2009 Kare Dep. Exhibit 3 US D604,305 S Design Patent               N/A        N/A
6/23/2007 Kare Dep. Exhibit 4 Replacement Sheet                          N/A        N/A
11/23/2010 Kare Dep. Exhibit 5 US D627,790 S Design Patent               N/A        N/A
   N/A     Kare Dep. Exhibit 6 Drawing                                   N/A        N/A
8/30/2011 Kare Dep. Exhibit 7 US D644,239 S; Design Patent               N/A        N/A
3/22/2012 Kare Dep. Exhibit 8 Expert Report of Susan Kare                N/A        N/A
   N/A     Kare Dep. Exhibit 9 Drawing                                   N/A        N/A
   N/A     Kare Dep. Exhibit 10 Drawing                                  N/A        N/A
   N/A     Kare Dep. Exhibit 11 Drawing                                  N/A        N/A
4/16/2012 Kare Dep. Exhibit 12 Rebuttal Expert Report of Susan Kare      N/A        N/A

   N/A      Kare Dep. Exhibit 13 Picture iPhone                          N/A        N/A
3/22/2012   Susan Kare Expert Report                                     N/A        N/A
3/22/2012   Kare Exhibit 1 Kare CV                                       N/A        N/A
3/22/2012   Kare Exhibit 2 Documents Considered by Susan Kare            N/A        N/A
3/22/2012   Kare Exhibit 3 iPhone Screen Capture                         N/A        N/A
3/22/2012   Kare Exhibit 4 iPhone 3GS Screen Capture                     N/A        N/A
3/22/2012   Kare Exhibit 5 iPhone 4 Screen Capture                       N/A        N/A
3/22/2012   Kare Exhibit 6 Sony Ericsson Xperia arc S                    N/A        N/A
3/22/2012   Kare Exhibit 7 Sony Ericsson Xperia neo v                    N/A        N/A
3/22/2012   Kare Exhibit 8 Blackberry Storm 2                            N/A        N/A
3/22/2012   Kare Exhibit 9 Nokia N9 and Blackbery Torch 9850             N/A        N/A
3/22/2012   Kare Exhibit 10 Mockup MeeGo handset                         N/A        N/A
3/22/2012   Kare Exhibit 11 Blackberry Torch 9850                        N/A        N/A
3/22/2012   Kare Exhibit 12 Nokia N9                                     N/A        N/A
3/22/2012   Kare Exhibit 13 Meizu M8                                     N/A        N/A
3/22/2012   Kare Exhibit 14 Apple Icons                                  N/A        N/A
3/22/2012   Kare Exhibit 15: Photo of Captivate                          N/A        N/A
3/22/2012   Kare Exhibit 16: Photo of Continuum                          N/A        N/A
3/22/2012   Kare Exhibit 17: Photo of Droid Charge                       N/A        N/A
3/22/2012   Kare Exhibit 18: Photo of Epic 4G                            N/A        N/A
3/22/2012   Kare Exhibit 19: Photo of Fascinate                          N/A        N/A
3/22/2012   Kare Exhibit 20: Photo of Galaxy S 4G                        N/A        N/A
3/22/2012   Kare Exhibit 21: Photo of Galaxy S i9000                     N/A        N/A
3/22/2012   Kare Exhibit 22: Photo of Gem                                N/A        N/A
3/22/2012   Kare Exhibit 23: Photo of Indulge                            N/A        N/A
3/22/2012   Kare Exhibit 24: Photo of Infuse 4G                          N/A        N/A
3/22/2012   Kare Exhibit 25: Photo of Mesmerize                          N/A        N/A
3/22/2012   Kare Exhibit 26: Photo of S Showcase (i500)                  N/A        N/A
3/22/2012   Kare Exhibit 27: Photo of Vibrant                            N/A        N/A
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3/22/2012   Kare Exhibit 28: Droid Charge Screen Captivate                   N/A                  N/A
3/22/2012   Kare Exhibit 29: Fascinate Screen Capture                        N/A                  N/A
3/22/2012   Kare Exhibit 30: Mesmerize Screen Capture                        N/A                  N/A
3/22/2012   Kare Exhibit 31: Galaxy S i9000 Screen Capture                   N/A                  N/A
3/22/2012   Kare Exhibit 32: Galaxy Icon Comparison                          N/A                  N/A
3/22/2012   Kare Exhibit 33: Mesmerize Screen Capture                        N/A                  N/A
4/16/2012   Kare Rebuttal Expert Report                                      N/A                  N/A
4/16/2012   Kare Exhibit 1 Additional Materials Considered by Kare           N/A                  N/A
            Rebuttal Expert Report
4/16/2012   Kare Exhibit 2 Certificate of Translation                        N/A                  N/A
4/16/2012   Kare Exhibit 3 Photo of Pantech                                  N/A                  N/A
4/16/2012   Kare Exhibit 4 Windows Desktop Screenshot                        N/A                  N/A
4/16/2012   Kare Exhibit 5 Photo of ClipArt                                  N/A                  N/A
4/16/2012   Kare Exhibit 6 The Xerox World According to n design of          N/A                  N/A
            Star Icons
4/16/2012   Kare Exhibit 7 Sunflower Against BlueSky                         N/A                  N/A
4/16/2012   Patent: JX 1043                                             APLNDC00032473       APLNDC00032478
4/16/2012   Patent: JX 1041                                             APLNDC00030426       APLNDC00030441
4/16/2012   Patent: JX 1042                                             APLNDC00030421       APLNDC00030425
                                                                      APLNDC-Y0000237385   APLNDC-Y0000237386
 4/16/2012 Patent: Phones that Infringe D'677                              PDX26.21             PDX26.33
 4/16/2012 Patent: Phones that Infringe D'087                              PDX26.23             PDX26.35
 4/16/2012 Patent: Phones that Infringe D'305                                N/A                  N/A
  8/7/2012 Trial Testimony Day 5                                             N/A                  N/A
12/13/2017 Blackard Transcript                                               N/A                  N/A
12/17/2017 Belvins Transcript                                                N/A                  N/A
12/20/2017 Denison Transcript                                                N/A                  N/A
12/20/2017 Han, Kyuhyun Transcript                                           N/A                  N/A
12/26/2017 Howarth, Richard (Rough) Transcript                               N/A                  N/A
12/26/2017 Kim, Dongwook Transcript (Rough and Final)                        N/A                  N/A
12/19/2017 Kim, Jinsoo Transcript                                            N/A                  N/A
12/14/2017 Sheppard Transcript                                               N/A                  N/A
12/20/2017 Wang, Jee-Yeun Transcipt                                          N/A                  N/A
12/21/2017 Joswiak Transcript                                                N/A                  N/A
12/21/2017 Samsung's Supplemental Responses to Apple's Second Set            N/A                  N/A
           of Interrogatories
12/21/2017 Samsung's Second Supplemental Responses to Apple's              N/A                  N/A
           First Set of Interrogatories
12/21/2017 Apple's Supplemental Responses to Interrogatories               N/A                  N/A
 3/22/2012 Lehto Report                                                    N/A                  N/A
 3/23/2012 Lucente Report                                                  N/A                  N/A
 4/17/2012 Corrected Lucente Rebuttal Report                               N/A                  N/A
6/25/2013 June 25, 2013 Anzures Deposition Transcript Condensed   N/A                  N/A
6/25/2013 Anzures Deposition Exhibit 1                            N/A                  N/A
6/25/2013 Anzures Deposition Exhibit 2                            N/A                  N/A
6/25/2013 Anzures Deposition Exhibit 3                            N/A                  N/A
6/25/2013 Anzures Deposition Exhibit 4                            N/A                  N/A
6/25/2013 Anzures Deposition Exhibit 5                            APLNDC63O-0000133101 APLNDC63O-0000133128
6/25/2013 Anzures Deposition Exhibit 6                            APLNDC630-0000124887 APLNDC630-0000124894
6/25/2013 Anzures Deposition Exhibit 7                            APLNDC-Y0000221795   APLNDC-Y0000221825
6/25/2013 Anzures Deposition Exhibit 8                            SDFL-App1e00504507   SDFL-App1e00504508
6/25/2013 Anzures Deposition Exhibit 9                            N/A                  N/A
6/25/2013 Anzures Deposition Exhibit 9A                           N/A                  N/A
6/25/2013 Anzures Deposition Exhibit 9C                           N/A                  N/A
10/18/2011 Oct. 18, 2011 Anzures Deposition Transcript            N/A                  N/A
           Anzures Deposition Exhibit 665                         APLNDC0000092277     APLNDC0000092282
10/14/2011 Oct. 14, 2011 Chaudhri Deposition Transcript           N/A                  N/A
10/14/2011 Chaudhri Deposition Exhibit 8                          N/A                  N/A
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10/14/2011 Chaudhri Deposition Exhibit 424                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 570                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 571                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 572                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 573                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 574                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 575                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 576                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 577                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 578                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 579                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 580                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 581                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 582                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 583                         N/A      N/A
10/14/2011 Chaudhri Deposition Exhibit 584                         N/A      N/A
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 5/25/1993 US Patent 5214756                                       N/A      N/A
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 8/27/2002 US Patent D462076                                       N/A      N/A
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 4/10/2007 US Patent D540340                                       N/A      N/A
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  8/7/2007 US Patent D548239                                       N/A      N/A
 10/9/2007 US Patent D552620                                       N/A      N/A
11/20/2007 US Patent D555660                                       N/A      N/A
  1/8/2008 US Patent D559261                                       N/A      N/A
 3/18/2008 US Patent D564530                                       N/A      N/A
  4/1/2008 US Patent D565586                                       N/A      N/A
  4/1/2008 US Patent D565588                                       N/A      N/A
 4/22/2008 US Patent D567171                                       N/A      N/A
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 5/20/2008 US Patent D569383                                       N/A      N/A
 7/29/2008 US Patent D574009                                       N/A      N/A
  8/5/2008 US Patent D574388                                       N/A      N/A
  8/5/2008 US Patent D574391                                       N/A      N/A
  9/2/2008 US Patent D576171                                       N/A      N/A
 11/4/2008 US Patent D579946                                       N/A      N/A
11/18/2008 US Patent D580949                                       N/A      N/A
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 7/31/2012 July 31, 2012 Stringer Testimony (Condensed and Full)   N/A      N/A
 7/27/2012 Order re Design Patent Claim Construction               N/A      N/A
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 8/24/2012 Verdict Form                                            N/A      N/A
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3/21/2012 Tech Radar Expert Review: Samsung Galaxy S Review               APLNDC-Y0000237361    APLNDC-Y0000237371
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   N/A      Samsung Fascinate Galaxy S Phone Advertisement             SAMNDCA00312148           SAMNDCA00312149
   N/A      Samsung Fascinate Galaxy S Phone Advertisement             SAMNDCA00312145           SAMNDCA00312145
   N/A      PX 12 Video                                               APLNDC-X0000007533        APLNDC-X0000007533
   N/A      PX 12 Video                                               APLNDC-X0000007534        APLNDC-X0000007534
   N/A      PX 12 Video                                               APLNDC-X0000007535        APLNDC-X0000007535
   N/A      PX 12 Video                                               APLNDC-X0000007536        APLNDC-X0000007536
   N/A      PX 12 Video                                               APLNDC-X0000007537        APLNDC-X0000007537
   N/A      PX 12 Video                                               APLNDC-X0000007539        APLNDC-X0000007539
   N/A      PX 12 Video                                               APLNDC-X0000007540        APLNDC-X0000007540
   N/A      PX 12 Video                                               APLNDC-X0000007541        APLNDC-X0000007541
   N/A      PX 12 Video                                               APLNDC-X0000007542        APLNDC-X0000007542
   N/A      PX 12 Video                                               APLNDC-X0000007547        APLNDC-X0000007547
   N/A      PX 12 Video                                               APLNDC-X0000007550        APLNDC-X0000007550
   N/A      PX 12 Video                                               APLNDC-X0000007551        APLNDC-X0000007551
   N/A      PX 12 Video                                               APLNDC-X0000007552        APLNDC-X0000007552
   N/A      PX 12 Video                                               APLNDC-X0000007553        APLNDC-X0000007553
   N/A      PX 12 Video                                               APLNDC-X0000007554        APLNDC-X0000007554
   N/A      PX 12 Video                                               APLNDC-X0000007555        APLNDC-X0000007555
   N/A      PX 12 Video                                               APLNDC-X0000007559        APLNDC-X0000007559
   N/A      PX 12 Video                                               APLNDC-X0000007560        APLNDC-X0000007560
   N/A      PX 12 Video                                               APLNDC-X0000007561        APLNDC-X0000007561
   N/A      PX 12 Video                                               APLNDC-X0000007562        APLNDC-X0000007562
   N/A      PX 12 Video                                               APLNDC-X0000007563        APLNDC-X0000007563
   N/A      PX 12 Video                                               APLNDC-X0000007564        APLNDC-X0000007564
   N/A      PX 12 Video                                               APLNDC-X0000007573        APLNDC-X0000007573
   N/A      PX 12 Video                                               APLNDC-X0000007574        APLNDC-X0000007574
   N/A      PX 12 Video                                               APLNDC-X0000007575        APLNDC-X0000007575
   N/A      PX 12 Video                                               APLNDC-X0000007576        APLNDC-X0000007576
   N/A      PX 12 Video                                               APLNDC-X0000007580        APLNDC-X0000007580
   N/A      PX 12 Video                                               APLNDC-X0000007581        APLNDC-X0000007581
   N/A      PX 12 Video                                               APLNDC-X0000007582        APLNDC-X0000007582
   N/A      PX 12 Video                                               APLNDC-X0000007592        APLNDC-X0000007592
   N/A      PX 12 Video                                               APLNDC-X0000007593        APLNDC-X0000007593
   N/A      PX 12 Video                                               APLNDC-X0000007594        APLNDC-X0000007594
   N/A      PX 12 Video                                               APLNDC-X0000007595        APLNDC-X0000007595
   N/A      PX 12 Video                                               APLNDC-X0000007596        APLNDC-X0000007596
   N/A      PX 12 Video                                               APLNDC-X0000007606        APLNDC-X0000007606
   N/A      PX 12 Video                                               APLNDC-X0000007607        APLNDC-X0000007607
   N/A      PX 12 Video                                               APLNDC-X0000007608        APLNDC-X0000007608
   N/A      PX 12 Video                                               APLNDC-X0000007609        APLNDC-X0000007609
   N/A      PX 12 Video                                               APLNDC-X0000007610        APLNDC-X0000007610
   N/A      PX 12 Video                                               APLNDC-X0000007611        APLNDC-X0000007611
   N/A      PX 12 Video                                               APLNDC-X0000007612        APLNDC-X0000007612
   N/A      PX 12 Video                                               APLNDC-X0000007613        APLNDC-X0000007613
   N/A      PX 12 Video                                               APLNDC-X0000007624        APLNDC-X0000007624
   N/A      PX 12 Video                                               APLNDC-X0000007625        APLNDC-X0000007625
   N/A      PX 12 Video                                               APLNDC-X0000007626        APLNDC-X0000007626
   N/A      PX 12 Video                                               APLNDC-X0000007627        APLNDC-X0000007627
   N/A      PX 12 Video                                               APLNDC-X0000007628        APLNDC-X0000007628
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   N/A    PX 12 Video                                                    APLNDC-X0000007650   APLNDC-X0000007650
   N/A    PX 12 Video                                                    APLNDC-X0000007667   APLNDC-X0000007667
   N/A    PX 12 Video                                                    APLNDC-X0000007668   APLNDC-X0000007668
   N/A    PX 12 Video                                                    APLNDC-X0000007669   APLNDC-X0000007669
   N/A    PX 12 Video                                                    APLNDC-X0000007670   APLNDC-X0000007670
   N/A    PX 12 Video                                                    APLNDC-X0000007671   APLNDC-X0000007671
   N/A    PX 12 Video                                                    APLNDC-X0000007672   APLNDC-X0000007672
   N/A    PX14 Video                                                            N/A                  N/A
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10/24/2010 Shows, Hollywood is Hooked on iPads                                  N/A                  N/A
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6/20/2010 Thinner, Faster, Smarter iPhone Raises the Stakes                     N/A                  N/A
6/18/2009 Upgrade Makes Great iPhone Even Better                                N/A                  N/A
6/27/2007 Waiting for the Latest in Wizardry                             APLNDC-Y0000236325   APLNDC-Y0000236328
   N/A     Plaintiff's Trial Exhibit No. 127 Video                              N/A                  N/A
   N/A     Plaintiff's Trial Exhibit No. 6                                      N/A                  N/A
   N/A     Plaintiff's Trial Exhibit No. 11                                     N/A                  N/A
   N/A     Plaintiff's Trial Exhibit No. 12                                     N/A                  N/A
   N/A     Plaintiff's Trial Exhibit No. 14                                     N/A                  N/A
   N/A     Plaintiff's Trial Exhibit No. 17                                     N/A                  N/A
12/14/2008 Plaintiff's Trial Exhibit No. 35                               SAMNDCA10247689      SAMNDCA10247704
2/11/2010 Plaintiff's Trial Exhibit No. 40                                SAMNDCA10247373      SAMNDCA10247378
   N/A     Plaintiff's Trial Exhibit No. 41                               SAMNDCA11030081      SAMNDCA11030359
 3/2/2010 Plaintiff's Trial Exhibit No. 44                                SAMNDCA00203880      SAMNDCA00204010
5/10/2010 Plaintiff's Trial Exhibit No. 46                                SAMNDCA00508318      SAMNDCA00508411
   N/A     Plaintiff's Trial Exhibit No. 52                                APLNDC00001103       APLNDC00001125
11/3/2010 Plaintiff's Trial Exhibit No. 54                                SAMNDCA00274819      SAMNDCA00274854
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   N/A    Plaintiff's Trial Exhibit No. 127                                 N/A                  N/A
11/1/2007 Plaintiff's Trial Exhibit No. 135                         APLNDC-Y0000146961   APLNDC-Y0000146962
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6/29/2010 Plaintiff's Trial Exhibit No. 175                                 N/A                  N/A
   N/A    Plaintiff's Trial Exhibit No. 179                          SAMNDCA11112967      SAMNDCA11112981
 3/2/2010 Plaintiff's Trial Exhibit No. 194                          SAMNDCA10247549      SAMNDCA10247549
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 5/3/2010 Plaintiff's Trial Exhibit No. 219                                N/A                  N/A
   N/A    Joswiak Deposition Exhibit 1                                     N/A                  N/A
   N/A    Howarth Deposition Exhibit 1                                     N/A                  N/A
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                        iPhone Screen Capture
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                        iPhone Screen Capture
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                        iPhone Screen Capture
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                      iPhone 3GS Screen Capture
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                      iPhone 3GS Screen Capture
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                        iPhone 4 Screen Capture
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                        iPhone 4 Screen Capture
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                              Captivate
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                              Captivate
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                              Captivate
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                             Continuum
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                             Continuum
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                            Droid Charge
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                            Droid Charge
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                            Droid Charge
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                               Epic 4G
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                               Epic 4G
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                               Epic 4G
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                             Fascinate
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                             Fascinate
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                             Fascinate
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                            Galaxy S 4G
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                            Galaxy S 4G
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                            Galaxy S 4G
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                            Galaxy S 4G
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                           Galaxy S i9000
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                           Galaxy S i9000
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                  Exhibit 13
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                                Gem
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                                Gem
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                               Indulge
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                               Indulge
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                               Indulge
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                              Infuse 4G
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                              Infuse 4G
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                              Infuse 4G
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                  Exhibit 16
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                              Mesmerize
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                              Mesmerize
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                              Mesmerize
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                  Exhibit 17
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                        Galaxy S Showcase (i500)
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                        Galaxy S Showcase (i500)
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                        Galaxy S Showcase (i500)
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                  Exhibit 18
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                               Vibrant
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                               Vibrant
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                               Vibrant
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                  Exhibit 19
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                      Droid Charge Screen Capture
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                      Droid Charge Screen Capture
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                      Droid Charge Screen Capture
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                  Exhibit 20
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                        Fascinate Screen Capture
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                        Fascinate Screen Capture
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                        Fascinate Screen Capture
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                  Exhibit 21
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                       Mesmerize Screen Capture
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                       Mesmerize Screen Capture
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                       Mesmerize Screen Capture
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                  Exhibit 22
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                   Galaxy S i9000 Screen Capture
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                   Galaxy S i9000 Screen Capture
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                   Galaxy S i9000 Screen Capture
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                  Exhibit 23
       Case 5:11-cv-01846-LHK Apple
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                                    Inc. v Samsung Electronics Co., LTD., et al.                                                                                                                                       EXHIBIT 24-S

                                                                      Demand for Design Patents and Trade Dress

#             Document Description                         Bates Number                 Party                                      Comment                                         Smartphone       Tablets

                                                                                                 "the look and the feel of iPhone, both physical, you know, dimensions and
     Deposition of Eric Jue, Product Line                                                        materials, and also the look and feel of the user interface, the icons that you
1                                                  N/A, page in document: 100-101       Apple                                                                                          x
     Manager for iPod at Apple, 2/24/12                                                          see, are all part of what people associate with Apple and iPhone."


                                                                                                 "Q When you say "design and aesthetics," what do you mean by that?
                                                                                                 A I think customers love the look of the product. They love how beautiful
     Deposition of Stanley Ng, Senior Director                                                   the product appears.
     of iPhone Product Marketing, Worldwide                                                      Q Any particular aspect of the look of the product that you think customers
2                                                    N/A, page in document: 55          Apple                                                                                          x                x
     Product Marketing Group at Apple,                                                           like in particular?
     2/21/12                                                                                     A Not specifically. I think they love the overall look and beauty of the
                                                                                                 products that we [Apple] create."


                                                                                                 "I think it is very possible that consumers who have never owned any Apple
     Deposition of Philip Schiller, VP of                                                        product whatsoever still might recognize this icon [phone call] as associated
3                                                    N/A, page in document: 185         Apple                                                                                          x
     Product Marketing at Apple, 2/17/12                                                         with Apple and even the iPhone, given how distinctive it is and how much
                                                                                                 marketing there has been…"
                                                                                                 "Q. Do you recall any feedback specifically as to the shape of the original
                                                                                                 iPad?
                                                                                                 A. I believe there was feedback on specifically comfortable to hold, which
     Deposition of Michael Tchao, VP of
                                                                                                 would, in my mind, include -- incorporate shape.
4    Product Marketing for iPad at Apple,            N/A, page in document: 63          Apple                                                                                                           x
                                                                                                 Q. How so?
     2/21/12
                                                                                                 A. That the contours of the device and the way the housing and screen
                                                                                                 came together made it easy to hold on to."

                                                                                                 Q. What about the physical design of the product makes it [the iPad]
                                                                                                 comfortable to hold?
     Deposition of Michael Tchao, VP of
                                                                                                 A. The shape of the back housing, the area of the -- around the screen, the
5    Product Marketing for iPad at Apple,            N/A, page in document: 67          Apple                                                                                                           x
                                                                                                 bezel around the screen, the weight of the product and the distribution of
     2/21/12
                                                                                                 that weight, the balance of the product.

                                                                                                 Between Q4 2010 and Q4 2011, 44-50% of those surveyed noted attractive
     Various iPhone Buyer Surveys, by Apple
6                                                                1/                     Apple    appearance and design as a very important attribute in the iPhone purchase            x
     Market Research & Analysis
                                                                                                 decision.
                                                                                                 "Strong trust in Apple and appeal of design swayed many who considered
                                                                                                 Android to purchase iPhone." 32% of those surveyed in the U.S. liked the
     iPhone Owner Study, by Apple Market           APLNDC-Y0000025024 - 5147, at                 physical appearance and design as a reason that swayed them to purchase
7                                                                                       Apple                                                                                          x
     Research & Analysis, May 2011                        5060 and '5064                         iPhone over Android.
                                                                                                 46% of those surveyed in the U.S. also listed physical appearance and
                                                                                                 design as a very important feature in deciding to buy the iPhone.
                                                                                                 The 7th top reason for buying an iPhone is for better appearance/design
     Smartphone Market Study, Apple Market         APLNDC0001434059 - 4154, at
8                                                                                       Apple    (37%); better appearance/design is listed 10th top reason for buying an               x
     Research & Analysis, January 2011                      '4144
                                                                                                 Android-based smartphone (27%).
     iPhone Early Buyer Wave 1 Final Report,
                                                   APLNDC-Y0000029092 - 9135, at                 The 4th top feature leading to an iPhone purchase is appearance and design
9    Apple Market Research & Analysis, July                                             Apple                                                                                          x
                                                              '9125                              (78%).
     2007
     iPhone 4S Early Buyer Survey, Apple
                                                   APLNDC-Y0000026096 - 6137, at                 64% of iPhone 4S buyers are very satisfied with the physical appearance and
10   Market Research & Analysis, November                                               Apple                                                                                          x
                                                              '6116                              design, and 25% are somewhat satisfied.
     2011
     Exhibit 7 to Declaration of Sissie Twiggs,
11   Director of Worldwide Advertising at             N/A, time in video: 00:00         Apple    Back of phone is shown with logo.                                                     x
     Apple, 7/1/11
     Exhibit 20 to Declaration of Sissie Twiggs,
12   Director of Worldwide Advertising at              N/A, time in video: 0:01         Apple    iPad 2 frontal design shown.                                                          x
     Apple, 7/1/11
     Exhibit 37 to Deposition of Sissie Twiggs,
13   Director of Worldwide Advertising at            N/A, page in document: 116         Apple    Advertisement on the design of the iPad 2. "Thinner. Lighter. Faster."                                 x
     Apple, 7/27/11
     Exhibit 40 to Deposition of Sissie Twiggs,
14   Director of Worldwide Advertising at                       N/A                     Apple    Advertisement showing two fingers picking up the iPad 2.                                               x
     Apple, 7/27/11
                                                                                                 In a graph titled "Main reasons why customers purchased current
     Exhibit D to Declaration of Minn Chung,                                                     [Samsung] smartphone (%)", "Exterior Design" was chosen by 28.6%-40.8%
15   Attorney at Morrison & Foerster LLP,               SAMNDCA10257319               Samsung    of the customers depending on age group. Above the graph is the                       X
     counsel of record for Apple, 2/8/12                                                         statement "Key Analysis: Need to recognize the importance of exterior
                                                                                                 design and screen size, as they are customer purchase decision factors."

     Exhibit D to Declaration of Minn Chung,                                                     In a slide titled Proposed Exterior Design Improvement Factors," there is the
16   Attorney at Morrison & Foerster LLP,               SAMNDCA10257322               Samsung    statement "Need to Improve by Adding Glossiness: iPhone's strengthened                X
     counsel of record for Apple, 2/8/12                                                         glass (front/back) has a glossy feel, which looks classy."

     Exhibit E to Declaration of Minn Chung,                                                     In the chart, "Comparison between Samsung Mobile Phone and iPhone,"
17   Attorney at Morrison & Foerster LLP,               SAMNDCA00202379               Samsung    "iPhone is on average 5.9 points higher compared to Samsung mobile                    X
     counsel of record for Apple, 2/8/12                                                         phone."

     Exhibit F to Declaration of Minn Chung,                                                     "Although released nearly a year ago, the Apple iPhone has maintained its
18   Attorney at Morrison & Foerster LLP,               SAMNDCA00229020               Samsung    position as the most inspired mobile handset on the market…. The iPhone is            X
     counsel of record for Apple, 2/8/12                                                         a delight to the eye as well as a highly usable device."
                                                                                                 T-Mobile's comments to Samsung about their phones include:
     Exhibit G to Declaration of Minn Chung,
                                                                                                 "Please explore other design alternatives here, including lighter
19   Attorney at Morrison & Foerster LLP,               SAMNDCA10247537               Samsung                                                                                          X
                                                                                                 backgrounds and colors throughout. For example, the iPhone has been
     counsel of record for Apple, 2/8/12
                                                                                                 successful at achieving a light and airy aesthetic…"
     Exhibit G to Declaration of Minn Chung,                                                     T-Mobile's comments to Samsung about their phones also include:
20   Attorney at Morrison & Foerster LLP,               SAMNDCA10247538               Samsung    "iPhone maintains a lively, vivid experience largely due to the 'pop' of their        X
     counsel of record for Apple, 2/8/12                                                         icons. We should be able to create similar magic here."

     Exhibit H to Declaration of Minn Chung,                                                     Samsung's Head of Mobile Division stated, "When our UX is compared to
21   Attorney at Morrison & Foerster LLP,               SAMNDCA10247377               Samsung    the unexpected competitor Apple's iPhone, the difference is truly that of             X
     counsel of record for Apple, 2/8/12                                                         Heaven and Earth. It's a crisis of design."



                                                                                    Prepared by Invotex Group                                                                              Submitted Under Seal; Highly Confidential;
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                                                                    Demand for Design Patents and Trade Dress

#             Document Description                       Bates Number                    Party                                      Comment                                          Smartphone       Tablets

                                                                                                  CEO Gee Sung Choi criticized Samsung UX's mindset of "clinging to the past
     Exhibit I to Declaration of Minn Chung,
                                                                                                  generation," stating, "I'm not saying, let's make a UX that is exactly the
22   Attorney at Morrison & Foerster LLP,             SAMNDCA10247549                  Samsung                                                                                           X
                                                                                                  same as the iPhone, I am saying, let's learn the wisdom of the iPhone and
     counsel of record for Apple, 2/8/12
                                                                                                  recognize that they have already set the industry standard (?) [sic]."

     Exhibit J to Declaration of Minn Chung,
                                                                                                  In the chart, "Evaluation results of design quality/luxury brand recognition,"
23   Attorney at Morrison & Foerster LLP,             SAMNDCA10252809                  Samsung                                                                                           X
                                                                                                  iPhone scores 90% on attractiveness, while Galaxy S phone scores 79%.
     counsel of record for Apple, 2/8/12

     Exhibit J to Declaration of Minn Chung,
                                                                                                  When compared with the GA3, iPhone 4's "icon illustrations look
24   Attorney at Morrison & Foerster LLP,             SAMNDCA10252818                  Samsung                                                                                           X
                                                                                                  professional and luxurious."
     counsel of record for Apple, 2/8/12

     Exhibit J to Declaration of Minn Chung,
                                                                                                  "The border is designed with metal silver, providing a futuristic and
25   Attorney at Morrison & Foerster LLP,             SAMNDCA10252832                  Samsung                                                                                           X
                                                                                                  luxurious feeling."
     counsel of record for Apple, 2/8/12
                                                                                                  In a slide titled, "Apple has overtaken Samsung as the most stylish brand
                                                                                                  overall," there is a quote from London: "I think Apple is so successful
     Exhibit K to Declaration of Minn Chung,
                                                                                                  because they have come out with a unique product [and] you see all other
26   Attorney at Morrison & Foerster LLP,             SAMNDCA10244368                  Samsung                                                                                           X
                                                                                                  mobile phone providers are trying to copy each other. Apple came out with
     counsel of record for Apple, 2/8/12
                                                                                                  something different and that's why everyone likes Apple - because it's
                                                                                                  different"
     Exhibit P to Declaration of Minn Chung,                                                      "The impact on the category is likely to be material because the product
27   Attorney at Morrison & Foerster LLP,             SAMNDCA00249046                  Samsung    [iPhone] will affect consumer expectations for design, user interface and              X
     counsel of record for Apple, 2/8/12                                                          presumably cell phone music capabilities."
                                                                                                  In a Market Intelligence Group Survey for Samsung, iPhone scores high in
                                                                                                  items such as "Sensual Design," "Stylish," "Prestigious," "Contemporary,"
     Exhibit Q to Declaration of Minn Chung,
                                                                                                  "Young," "Passionate," and "Imaginative." Above the chart of survey results,
28   Attorney at Morrison & Foerster LLP,             SAMNDCA00232256                  Samsung                                                                                           X
                                                                                                  there is the statement "iPhone generally shows a distinctive image
     counsel of record for Apple, 2/8/12
                                                                                                  compared to Samsung." Apple generally outperformed Samsung in almost
                                                                                                  every category.
                                                                                                  In a Samsung presentation titled, "iPhone 4.0 Quick Report and Analysis,
                                                                                                  there is a side to side comparison of the back of Galaxy S phone and the
29   iPhone 4.0 Quick Report & Analysis        SAMNDCA00024872-4941, at '4908          Samsung                                                                                           X
                                                                                                  iPhone with a check on the iPhone side and the comment, "Apple logo on
                                                                                                  back."
     Corrected Exhibit C to Declaration of
                                                 SAMNDCA00025016 - 5079, at                       "Design on the Galaxy Tab 10.1 was and is the main sales driver for the
30   Francis Ho, 11/7/11 (Title of document:                                           Samsung                                                                                                           X
                                                          '5031                                   device."
     STA Post Launch Consumer Insights)
     Samsung Galaxy Tab 10.1 & 8.9               SAMNDCA00027944 - 8005, at                       "Apple iPad 2 was rated significantly higher in overall design than Samsung
31                                                                                     Samsung                                                                                                           X
     Competitive Product Experience                       '7948                                   Galaxy Tab 10.1, Blackberry Playbook and HP Touchpad."
                                                                                                  "The halo effect. If you can own one attribute, the prospect is inclined to
                                                 SAMNDCA00176269 - 6897, at
32   Samsung, part 1. Endless opportunities.                                           Samsung    give many others. The proof of the principle. Apple's focus on design has              X               X
                                                       '6343-'7644
                                                                                                  built a powerful brand."
     Samsung Lovemark Mobile & Web               SAMNDCA00207695 - 7765, at                       Apple was rated "among the best" while Samsung was rated "about
33                                                                                     Samsung                                                                                           X
     Research: Lovemarks.                                 '7731                                   average" for "Physical Design."
                                                                                                  In a slide titled, "Comparison between Current and Wish Phones_Design,"
                                                                                                  Samsung states "Apple iPhone users rate design satisfaction higher than the
     Business & Messaging Users Qualitative      SAMNDCA00218063 - 8130, at
34                                                                                     Samsung    others." The chart below shows Apple ratings that are higher in terms of               X
     Research Results                                     '8099
                                                                                                  easy to carry, color, size of phone, form factor, material, button to input text
                                                                                                  easily, and keypad type.
                                                 SAMNDCA00230535 - 0645, at
     2009 Samsung Umbrella Brand                                                                  "Sony is known for quality, trust and worth; Apple for buzz, design, and
35                                                        '0571                        Samsung                                                                                           X               X
     Architecture                                                                                 innovation…"
                                                 SAMNDCA00236017 - 6112, at
36   BAS H1 2010 Final Report USA                                                      Samsung    "Apple distinguishes itself on Expertise, Sensual Design, and Endorsement."            X               X
                                                          '6077
     Brand Attitude Survey 2010 2H - Main        SAMNDCA00245494 - 5611, at                       A chart titled "Performance on BE attributes - Samsung vs. Apple" rates
37                                                                                     Samsung                                                                                           X               X
     Module: USA                                          '5584                                   Apple higher in "Sensual Design" compared to Samsung.
     Brand Attitude Survey H2 2009 Country       SAMNDCA00232190 - 2290, at
38                                                                                     Samsung    "iPhone generally shows a distinctive image compared to Samsung."                      X
     Report: USA                                          '2256
                                                                                                  Samsung's draft presentation includes a quote from Fox News, "The hype
                                                                                                  isn't without substance. Though each carrier alters its phone a bit, all three
                                                 SAMNDCA00259131 - 9239, at
39   COO Visit to STA - September, 2011                                                Samsung    Galaxy S II smartphones have some specs in common: a 4.3-inch, Super                   X
                                                          '9167
                                                                                                  AMOLED 800x480 screen, a dual core 1.2-GHz processor, fast 4G network
                                                                                                  connectivity, and a sleek, simple design evocative of the iPhone."
                                                                                                  In a slide of side to side comparison of the iPad 2 and P5, Samsung
     Samsung, European Telecommunication                                                          comments that on the iPad2, "icons are big and the gap between the
40                                              S-ITC-010617659 - 7694, at '7663       Samsung                                                                                                           X
     Operation, P5 vs. iPad2, 18th May, 2011                                                      applications are ideal!!!" "Due to the big size of Icons and the big gap
                                                                                                  between applications, it is easier to find applications."
                                                                                                  Samsung comments that the contacts function on the iPad 2 has "very nice
     Samsung, European Telecommunication
41                                              S-ITC-010617659 - 7694, at '7670       Samsung    UI design and easy to edit contacts because Edit button is always visible!!!                           X
     Operation, P5 vs. iPad2, 18th May, 2011
                                                                                                  Very nice Book design and the editing is easy and intuitive."
     Samsung Galaxy S Launch Event
                                                                                                  9.9 mm thickness and 4 inch screen are described in a video clip about the
42   (http://www.youtube.com/watch?v=Pnx                      N/A                      Samsung                                                                                           X
                                                                                                  Galaxy S.
     fnFm0Wb8)
43                                                            N/A                      Samsung    Describes tablet design as "revolutionary".                                                            X
     [GALAXY Tab 10.1] Official Demo - HD
     [GALAXY S II] Official Live Demo -
44                                                            N/A                      Samsung    Design of the phone seen from every angle.                                             X
     Viewing
                                                                                                  Samsung describes "Design" as a main feature of the Galaxy S II and notes
                                                                                                  the phone's "Slim and Light Design." Diagrams show "a double tap and tilt
                                                 SAMNDCA10775587 - 5624, at                       of the device will zoom in and out" and "tap and pan will move the user
45   Samsung Galaxy S II Presentation           '5594, '5599, '5607, '5619, '5621,     Samsung    from widgets to menus." Samsung in its 30 second pitch described the                   x
                                                               '9831                              screen as "wrapped in the sleekest design you can find anywhere." and
                                                                                                  highlights Design in its 3 minute pitch guidelines. Picture at the CTIA
                                                                                                  Unpacked event with Design on a powerpoint slide.




                                                                                     Prepared by Invotex Group                                                                               Submitted Under Seal; Highly Confidential;
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                                                                    Demand for Design Patents and Trade Dress

#             Document Description                        Bates Number                  Party                                      Comment                                          Smartphone       Tablets
     Samsung Galaxy Tab 10.1 - Official
     Commercial
46                                                   N/A, time in video: 00:30        Samsung    Apple comparison is shown between a Galaxy Tab 10.1 and iPad.                                           x
     (http://www.youtube.com/watch?v=OM
     1Pt0AXSaI)

                                                                                                 From a Design Competitiveness Evaluation, Samsung notes that "the
                                                                                                 [iPhone] design has simple appearance, but becomes more and more
                                                                                                 attractive as it is used)," and "out of the evaluation items for Delight, Total
                                                                                                 Design Uniformity and Design Leadership are more than 6 points higher
                                                                                                 than our company's mobile phones."
     [Blank Title], by Design Management          SAMNDCA00202336 - 2380, at
47                                                                                    Samsung    "Deliver overall consistent images over the entire process of product use in           x
     center, 10/8/7 (Translated)                      '2358, '2363, '2379
                                                                                                 addition to the product itself. Provide reliability by implementing Identity
                                                                                                 that involves integration of brand, design and marketing." [Slide shows
                                                                                                 Apple marketing items]
                                                                                                 "Intuitive Interface...Advanced Technology that simplifies complicated
                                                                                                 external function keys and thus enhances usability." [Shows picture of iPod]


     Experts' Evaluation Result, Self                                                            "When it comes to design, advance market dominance is important. The
     Inspection Program - Major Status on         SAMNDCA00203016 - 3040, at                     design that lost market dominance may appear to be an imitation."
48                                                                                    Samsung                                                                                           x
     Global Design Competitiveness                         '3033                                 "iPhone GUI appears to be alive. There is a lack of GUI that is more vivid and
     Evaluation, October 2007 (Translated)                                                       attractive GUI."

                                                                                                 After comparing iPhone and i9000 icons, directions for improvement
     Relative Evaluation Report on S1, iPhone,    SAMNDCA00203880 - 4010, at
49                                                                                    Samsung    include " change replicate icons and select and use highly intuitive icons"            x
     3/2/10 (Translated)                               '4006 and '4010
                                                                                                 and "eliminate the feeling that the iPhone’s menu icons were copied."
                                                                                                 "Summary of confirmed issues and comments following this morning’s
     Email from Kim Ah-young RE Octopus
50                                                  SAMNDCA00507826 - 7827            Samsung    report by the general business manager: …. 7. Packaging: Proceed with                  x
     3/17 Report Result, 3/17/10 (Translated)
                                                                                                 iPhone/Droid type"
                                                                                                 Apple's Desire, Intrigue, and Delight scores are consistently higher than
     Expert Evaluation Result [Cell Phone],       SAMNDCA00203092 - 3179, at
51                                                                                    Samsung    Samsung's. "There are more significant differences in "intrigue" and "design           x
     October '07 (Translated)                              '3137
                                                                                                 leadership."
                                                                                                 Survey contain user preferences of tablets:
     Competitive Tablets Product Experience:
                                                  SAMNDCA00237976 - 8036, at                     "consumers ranked Apple iPad (41%), Galaxy Tab 10.1" (26%) and 8.9 (17%)
52   Form Factor & Display Size / Aspect Ratio                                        Samsung                                                                                                            x
                                                           '7978                                 as most preferred tablet based on overall preference, taking into
     validation Research Report, 8/28/11
                                                                                                 consideration form factor AND display size."
     Critical Findings Brief: Competitive UX
                                                                                                 "Overall, the iPhone 3GS was rated better than other devices in overall
     Evaluation of Atlas, Victory, Supersonic     SAMNDCA00238251 - 8277, at
53                                                                                    Samsung    design, life needs and values, touchscreen, general usability and users                x
     and Vegas with HTC Incredible and Apple               '8254
                                                                                                 satisfaction across the sessions."
     iPhone 3GS
     Email chain from Shoneel Kolhatkar, RE                                                      In response to requests to change tablet specs, YK Yongki Min noted it was
                                                  SAMNDCA00514511 - 4520, at
54   "Changes of Tablet Spec", 3/7/11                                                 Samsung    "intending the improvement of product competitiveness against i-PAD 2, to                               x
                                                           '4512
     (Translated)                                                                                my understanding."
     Email chain between Yong Il Lee and                                                         Don Ju Lee: “The bottom line is that our P3 should go head-to-head against
     others, RE "About Galaxy Tab 10.1 Inch                                                      I-Pad II [sic] this time. First, the problem is strengthening the quality of the
55                                               SANDCA00514571 - 4578, at '4576      Samsung                                                                                                            x
     Introduction Strategy", 3/11/11                                                             product. 1. We will proceed on the premise that the thickness of the P3 that
     (Translated)                                                                                is already in the process of being reviewed should be less than 8.8mm."
     North America P4(P7510 Wifi) BBY Retail
                                                                                                 Samsung conducted a survey of customer returns, and 15% were attributed
56   Store Visit T/F Report, August 2011      SANDCA10154003 - 4053, at '4013         Samsung                                                                                                            x
                                                                                                 to design, of which 4% was attributable to appearance alone.
     (Translated)
     P5 Usability Evaluation Results - 4/9/11   SAMNDCA00176053 - 6171, at                       A major problem area "Legibility [for P5] is not good [as iPad 2] as the icon
57                                                                                    Samsung                                                                                                            x
     (Translated)                                        '6057                                   label is too small in proportion to the large screen."
                                                                                                 A side by side comparison of secondary icons from various phones,
                                                                                                 including the iPhone, is listed. In reviewing iPhone's secondary icons, "many
     Competitor Analysis Design & Layout -        SAMNDCA00228887 - 8933, at                     icon metaphors are simple vector shapes which are easy to understand….
58                                                                                    Samsung                                                                                           x
     2009 GUI Framework, 04/2008                      '8900, '8905, '8915                        Icons are very ownable and can easily be identified as part of the Apple
                                                                                                 family." The reported recommended "maintaining a strong link between
                                                                                                 the visual style of main menu icons helps maintain a family feel."

                                                                                                 A side by side comparison of the main menu layout and main menu icons is
                                                                                                 listed. The Apple iPhone's "iconography used is very ownable - even icons
     Competitor Analysis Design & Layout -        SAMNDCA00228934 - 8980, at                     for third party applications or features seem very iPhone-like… Visual
59                                                                                    Samsung                                                                                           x
     2009 GUI Framework, 04/2008                  '8947, '8964, '8969, and '8979                 language of iconography fits into the overall Apple family identity." The
                                                                                                 report recommended "maintain consistent visual application of icon style
                                                                                                 within the brand."
                                                                                                 "P1 does have some strengths compared with iPad but also gives a stuffy
     Analysis of Relative Strengths and
                                                  SAMNDCA00203727 - 3768, at                     feeling at the same time. The details on graphics are not enough to
60   Weaknesses P1 vs. iPad App, 4/20/10                                              Samsung                                                                                                            x
                                                           '3728                                 experience reality compared with iPad. Due to the lack of visual effects, fun
     (Translated)
                                                                                                 factors are not enough, and usability is low.
                                                                                                 "Compared with our own TouchWiz, P3 [Honeycomb] GED is in a
                                                                                                 disadvantageous position in terms of usability and intuitiveness. It requires
     iPad vs. Honeycomb P5 UX Comparison          SAMNDCA00203811 - 3879, at                     tablet UI/UX that is optimized and comparable with iPad. The somewhat
61                                                                                    Samsung                                                                                                            x
     of Competitiveness, 2/10/11 (Translated)              '3878                                 poor quality black UI causes inconvenience, degrading visibility and
                                                                                                 readability.... Menu offering method, pop-up menu location, coherence of
                                                                                                 icon, and unity are low."
     The Cambridge Group - Developing an
                                                                                                 The Cambridge Group notes that the iPhone "will affect consumer
     Optimized Positioning Strategy for
                                                  SAMNDCA00249029 - 9120, at                     expectations for design, user interface and presumably cell phone music
62   Samsung's U.S. Mobile Phone Business,                                            Samsung                                                                                           x
                                                       '9046 and '9049                           capabilities." the report also notes that reviewers are "most impressed with
     Positioning Strategy Recommendation.
                                                                                                 the uniqueness of the form…."
     Final Report. 1/30/07

     European Telecommunication Operation                                                        The P5 "Icons are too small and too close to each other," while the iPad 2
63                                               S-ITC-010617659 - 7694, at '7663     Samsung                                                                                                            x
     P5 vs. iPad 2, 5/18/11                                                                      "icons are big and the gap between the applications are ideal."
                                                  SAMNDCA10275576 - 5646, at                     "Overall, they were quick to compare it to the iPhone. Uniformly, people
64   Acme, July 2008                                                                  Samsung                                                                                           x
                                                           '5593                                 felt Acme was a copy of the iPhone."




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                                                                                                "Research suggests that brands that engage people emotionally can
                                                                                                command prices as much as 20% to 200% higher than competitors', and sell
                                                                                                in far higher volumes."
                                                                                                "Samsung products were considered commodities. Samsung focus was on
                                                                                                low cost manufacturing. Samsung products provided good value at low cost.
                                                                                                But people neither loved nor respected the Samsung brand or its products."
                                                                                                "Now Samsung must move from a well respected brand to a brand whose
                                                                                                products are designed to make people love them.... This also necessitates
                                                                                                moving from design as an expression of only form and function to designing
                                                                                                an emotional, multi-sensory experience for the consumer."
     Global Evaluation Criteria For Tier 1       SAMNDCA00221705 - 1818, at
65                                                                                   Samsung    "We must add a higher level of inspired and inspiring design. Design cannot         x
     Design                                        '1708, '1709, '1713, '1718
                                                                                                be only focused on the traditional role of the invention of new product
                                                                                                architectures and the elegant expression of contemporary forms in
                                                                                                conjunction with improved ease of use. This is not only because
                                                                                                conventional design standards have been raised by all of the major
                                                                                                competitors but because this type of design, no matter how good, is not
                                                                                                longer sufficiently engaging. For design to emotionally engage the
                                                                                                consumer and command the attention of media, one must love to design as
                                                                                                theater. This type of design is based upon the stimulation of all of the
                                                                                                senses, the creation of mystery and the engagement of the viewer and user
                                                                                                in a more intimate relationship."



                                                                                                "Start with materials…. Iconic Beauty that others cannot easily copy. Cost
                                                 SAMNDCA10809734 - 9875, at
66   Agenda [table of contents in Korean]                                            Samsung    Innovation that makes bigger profit. Value creator that maximizes product           x
                                                       '9838 - '9840
                                                                                                concept." On the next slide, it shows the iPhone.

                                                                                                "Touch device is being positioned as a premium phone... stylish and
                                                                                                characteristic design for touch device is needed.... Stylish touch phone need
                                                 SAMNDCA10202899 - 2983, at
67   '10 US Archetype Design Input, 10/23/08                                         Samsung    to focus on the design itself to appeal self-esteemed people. With the              x
                                                          '2925
                                                                                                design identity, large screen, easily usability, and multimedia functionality
                                                                                                will be weighed in as a state of the art device."
     Feasibility Review on Standalone AP
                                                 SAMNDCA10809390 - 9460, at                     "Our research has identified four key factors that we expect will shape
68   Business for Smart Phone Market                                                 Samsung                                                                                        x
                                                          '9402                                 handsets in the coming five years. Those factors are: 1. the iPhone…."
     (Untranslated document)

                                                                                                "Pundits tell us that the iPhone is a revolution…. 'Apple Inc's iPhone…
                                                                                                widely hailed for its beauty and functionality….' -Walter Mossberg"
                                                                                                "The iPhone has delivered on the promise of touch, permanently altering a
                                                                                                consumer's mental model of a mobile phone across key product
     Touch Portfolio, Rollout Strategy,          SAMNDCA00191811 - 1987, at
69                                                                                   Samsung    dimensions. [Design is shown as a dimension]."                                      x
     12/17/08                                      '1830, '1838, '1841, '1842
                                                                                                "The iPhone is in some ways 'undesigned' but its strong ,screen-centric
                                                                                                design has come to equal what's on trend and cool for many consumers."
                                                                                                "For State of the Art, Apple has overtaken Samsung as the most stylish
                                                                                                brand overall."

                                                                                                "When [Omnia II] compared with the iPhone, it fell short in some cases, and
     Final Report - i920 Usability Test &
70                                              S-ITC-009302888 - 2969, at '2894     Samsung    was on par in others. The main advantage of the iPhone was its perceived            x
     iPhone Benchmarking - UT1, 9/25/09
                                                                                                simplicity."
                                                                                                Findings of the final report on competitive touch UX design between the
                                                                                                iPhone 3GS and other phones include "home screen preference - iPhone
     Email chain from Sang Hung to YK Tongki                                                    3GS has the highest ranking…. We should use iPhone 3GS (for the time
     Min, et al. RE Competitive Touch UX                                                        being until another best-of-the-class in usability) as benchmark/goal for
71                                                SAMNDCA10175266 - 5267             Samsung                                                                                        x
     design consumer usability report,                                                          improvement in any of our products. In the Android platform, we will want
     12/4/09                                                                                    to make sure any of the enhanced designs should at least match the default
                                                                                                UX supported by the platform through user-centered research and
                                                                                                consumer usability testing...."

     Winning in Smartphones - It's now or        SAMNDCA10807316 - 7387, at                     Strategic plays for Samsung include, "UI on par with iPhone….. Match the
72                                                                                   Samsung                                                                                        x
     never, by McKinsey&Co, 12/10/09                      '7358                                 iPhone UI within the next 12 months."

                                                                                                "The iPhone is in direct competition with a large number of Samsung
                                                                                                devices (Form Factor view)"
                                                                                                "Apple (in combination with RIM) is creating a growing threat to Samsung's
                                                                                                market share."
                                                                                                "State-of-the-Art were driven by the Apple brand and design."
     Support to STA's Counter-Apple Strategy,    SAMNDCA10036081 - 6204, at
73                                                                                   Samsung    "iPhone segments are very distinct in terms of why they bought the                  x
     Mercator Partners, 9/18/08                    '6089, '6094, '6103, '6106
                                                                                                iPhone..." under State-of-the-art, "Key buying factors - high on Design &
                                                                                                Appearance."
                                                                                                "Recommendation #1 - Contain Apple by 'encircling the iPhone' through
                                                                                                systematically targeting the under-served needs of different iPhone
                                                                                                segments" an arrow points to "State-of-the-art = Style + Apple - Price."

                                                                                                "Changes in high-end consumers' awareness of styles" include: "focus not
                                                                                                only on the external design but on the UX design and usability."
                                                                                                "Customized Design" points to "Personalized Experience"
     Results of Global Segmentation 2.0
                                                 SAMNDCA00196646 - 6827, at                      "Recognize touch screen as the best tool to ensure
74   Study, Mobile Marketing Group /                                                 Samsung                                                                                        x
                                                          '6658                                 intuitiveness/style/visibility."
     Strategy & MI Part, March 2010
                                                                                                "Style = In & Out + Trendy + Latest." Same slide also depicts different
                                                                                                pictures of the iPhone.


     Samsung Mobile Philosophy, Analysis of                                                     Samsung is compared with Apple and Sony. Apple is described as "simple,
                                                SAMNDCA 00217372 - 7388, at
75   Survey Results, Mobile UX Group                                                 Samsung    innovation, new, easy, minimal" and Samsung as "techy, balance, wide &              x
                                                         '7380
     Samsung Electronics, 8/13/07                                                               deep, reason & feeling, absence of consistency."




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                                                                                             "Vibrant users value the product's features over the product's brand and
                                                                                             design.... There were not many Apple users who purchased Samsung
                                                                                             products. In contrast, many Samsung users purchased Apple products
     Final Report, Galaxy S Market Response      SAMNDCA 00521309 - 1396, at
76                                                                                Samsung    subsequently."                                                                        x
     Survey (US), October 6                          '1316, '1318, '1374
                                                                                             “Brand and Design were the main reasons consumers purchased the iPhone
                                                                                             4, which is the main competing product to Samsung Phones.” Design is the
                                                                                             fourth most important reason for buying the Samsung Vibrant.
                                                 SAMNDCA00251457 - 1505, at                  iPhone has “Innovative UI,” “touch screen,” and “focusing emotional
77   3G iPhone Counter Plan, 6/14/08                                              Samsung                                                                                          x
                                                          '1460                              benefits."
                                                                                             iPhone strengths include "user friendly", "usability", "touch-screen", and
                                                                                             "cool factor.”
                                                                                             "While it has no immediate competition in terms of usability and style, it
                                                 SAMNDCA00251538 – 1565, at
78   iPhone 3G UX Analysis, 7/12/08                                               Samsung    [iPhone] will undoubtedly create a world of copycat products and                      x
                                                          '1561
                                                                                             competitors. Competitors' new technologies, business model and/or
                                                                                             creative user interface have been and will be launched to compete with
                                                                                             iPhone.”
     Design Strategy of Apple, Concept           SAMNDCA10808165 - 8199, at
79                                                                                Samsung    Samsung outlines iPhone and iPad design history.                                      x                x
     Planning Unit, 3/16/11                           '8174 and '8175
     Touch Devices Browser User Experience       SAMNDCA10166661 - 6742, at                  "Apple iPhone browser url/search UX provides one of the best reference
80                                                                                Samsung                                                                                          x
     Best Practices, STA UX, 2/13/09                      '6683                              designs in the market."
                                                                                             “iPhone [Korean text] = Premium/[Korean Text]”
     "Premium & Mass Design Preference           SAMNDCA00176172 - 6202, at                  The "Most Trendy" phone is the iPhone 3GS and 4. "It's simple, it looks like
81                                                                                Samsung                                                                                          x
     Study"                                            '6178, '6192                          it's more skinny and it's enough space to navigate it. It's everything that you
                                                                                             need in a phone."
     Email from Nandakumar Ramachandran,
     11/16/09 RE: Competitive Intelligence on                                                "iPhone 3GS still scored best across virtually all the tasks tested (and in
                                                 SAMNDCA10410283 - 0293, at
82   2010 TMO Android Product Roadmap                                             Samsung    some cases by a wide margin), the home screen design and the general                  x
                                                          '0283
     against Samsung 2H10 Android Product                                                    interaction design."
     Roadmap Strategy for TMO



                                                                                       Supplement
     Lessons From Apple                           SAMNDCA00274819 (Cheong         Samsung '4831: "Apple's sleek and intuitive user interface has been a key driver of its          x               x
                                                       Exhibit 2652)                        value proposition . . . Clean, beautiful interface. Clean menu screens.
                                                                                            Intuitive, user-friendly navigation & visual elements . . . ."

                                                                                             '4838: "Apple has a strong, clear brand promise consisting of compelling
83
                                                                                             brand attributes that resonate with consumers. . . . Apple's brand promise
                                                                                             consists of compelling brand attributes valued by consumers. . . . Brand
                                                                                             promise: 'Cool, innovative products offering superior design and usability."


     N/A                                        SAMNDCA10247509 (Cho Exhibit      Samsung    Per pp.63 of Deposition of Seunghwan Cho, referring to Exhibit 1976: "The             x
                                                          1976)                              president directed that we place each page of the whole UI on the wall and
                                                                                             change the UI perfectly."
84
                                                                                             Per pp.70 of the Deposition of Seunghwan Cho, referring to Exhibit 1976: "It
                                                                                             seems we ought to improve the UI so as to make it absolutely superior in
                                                                                             comparison to the iPhone, with respect to those functionalities that are oft
                                                                                             used in an absolute sense."
     Ecosystem Procuring Strategy to Take       SAMNDCA00392050 (Cho Exhibit      Samsung    2112: In text above pictures of OMNIA v. iPhone 3Gs: "iPhone: Except for              x
     the Lead in the Smartphone Market                    2676)                              one H/W key, entire menu is substituted with icons of consistent size and
                                                                                             shape and easy to understand how to use through application of intuitive
                                                                                             menu."

85                                                                                           In text above graphic on '2117": "Design is a far superior factor playing an
                                                                                             important role."

                                                                                             '2118: Design ranked 61.8%, Important points influencing a smartphone
                                                                                             buying decision besides the device specs by Japanese users.

     Palm Pre, Apple iPhone, HTC Magic US:   SAMNDCA00391937 (Cho Exhibit         Samsung    1951: Strengths of Apple iPhone 3GS include "Screen switch & scrolling                x
     UI Weakness/Strength Report - August 5,           2679)                                 smooth & sleek" and "Intuitive UX + emotion-inducing/sensible graphic
86
     2009 - R&D Management Group                                                             effects provided"

     Phase 2 Design Strategy                    SAMNDCA00202336 (Choi Exhibit     Samsung    2379: Survey on design metrics such as Desire, Intrigue, Delight, "iPhone is          x
                                                          2150)                              on average 5.9 points higher compared to Samsung mobile phones"
87
                                                                                             '2342 Samsung design philosophy: "Create an Emotional Journey. Design
                                                                                             an emotional experience. Desire / Intrigue / Delight."

     Alkon Instructions from the CEO            SAMNDCA20012936 (Choi Exhibit     Samsung    2936 (translation '9970): Report entitled "Alkon - Instructions from the              x
                                                          2641)                              CEO," noting "Improve UX, referring to iPhone 3GS."
88
                                                    Translations Beg Bates:                  '2950 (translation '9974): Side-by-side photographs of Samsung and iPhone
                                                     SAMNDCA20012936                         GUI.
     Expert Evaluation Result [Mobile Phone]     SAMNDCA203092 (Hong Exhibit      Samsung    3152: In survey, Apple iPhone ranked higher in Desire, Intrigue, and Delight          x
                                                             2149)                           (Gestalt) attributes: "The harmony of UI and HW makes this product shine."
                                                                                             "Unique, fresh, and an outstanding product that deserves the best score -
89
                                                                                             the main issue for future products is how much buzz can be created by
                                                                                             instilling emotions into the items."

     Email from Dong Jin Koh to Dong Hoon       SAMNDCA11374409 (Hong Exhibit     Samsung    '4410: Email from Dong Hoom Chang re: "President's views on touch                     x
     Chang, et al., "Conveyance of the                    2640)                              method": "C-type's strengths are the sleek exterior product design,
     President's views on touch method and                                                   superior feel of the touchscreen, and multi-touch, these 3 points. It
90
     call to meeting"                                                                        becomes my thought that even among these, the sleek product design
                                                                                             execution that the iPhone shows, is what is thought by the above or in sales
                                                                                             to be the greatest appeal factor."




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              Email from Yu Shin Kim to Lead Dae        SAMNDCA10969926 (Hong Exhibit       Samsung    9932: Email from MH Cho to WP Hong re: "Galaxy S Review": "Overall, it                 x
              Woon Myeong.                                        2708)                                does not surpass the limitations of the iPhone. I get the feeling that the
                                                                                                       design of UI and Look and feel was led by engineers. Therefore, they can't
       91                                                                                              do anything other than copying the iPhone…. If you remain content because
                                                                                                       it was a big hit domestically, you will always be second place. Shouldn't we
                                                                                                       make Apple copy Samsung?"

              Email from Hyun Kim, "MWC (2/15) -        SAMNDCA00044700 (Hong Exhibit       Samsung    4700: Email from H Kim: "To pass along a few comments from Lead                                        x
              P1/p3 Division Head Design Report                   2709)                                Designer Cho who went into the Google meeting yesterday - P1, P3: - Since
       92
              Meeting Minutes                                                                          it is too similar to Apple, make it noticeably different starting with the front
                                                                                                       side."
              Gravity Tank: Touch Portfolio: Rollout    SAMNDCA00191811 (Sohn Exhibit       Samsung    1834, '1841, '1842: Survey/market research. Regarding iPhone:                          x
              Strategy - Recommendation Based on                  1654)                                "Consumers applaud the iPhone's ease of use and simplicity." "Screen-
              Consumer Insight                                                                         centric design has set the standard for touch." "Apple has overtaken
                                                                                                       Samsung as the most stylish brand overall. . . . 'I think Apple is so successful
                                                                                                       because they have come out with a unique product [and] you see all other
                                                                                                       mobile phone providers are trying to copy each other. Apple came out with
       93
                                                                                                       something different and that's why everyone likes Apple - because it's
                                                                                                       different."

                                                                                                       '1870: Regarding Samsung's phones: "While liked, no phone makes a
                                                                                                       design statement - Consumers feel they look too plain, too extreme or too
                                                                                                       much like other Samsung phones."
              Support to STA's Counter-Apple Strategy   SAMNDCA10036081 (Sohn Exhibit       Samsung    6145: Survey, "Key Buying Factors (rank 1-16) - amongst iPhone owners":                x
       94
                                                                  2715)                                Design and appearance is ranked second.
              Feasibility Review on Standalone AP           SAMNDCA10809390                 Samsung    9427: "Factors That Could Make the iPhone a Success - Easy and intuitive UI            x
       95     business for Smart Phone Market                                                          that covers all user classes, including male, female, old and young -
                                                                                                       Beautiful design."
              STA Marketing: CFO Update                   SAMNDCA11547471 (Cheong           Samsung    7475: STA marketing report. "2012 Objectives: Overcome Fast Follower                   x
       96                                                      Exhibit 2653)                           Status & Establish Samsung as Challenger Brand to Apple."

              (Gravity Tank) Touch Portfolio: Key       SAMNDCA10805169 (Sohn Exhibit       Samsung    5170: Executive Summary - Consumer Needs: "The main element of the                     x
              Takeaways                                           2714)                                reason for purchasing a touch phone appeared to be intuitive/easy use of
                                                                                                       various features and modern image."

                                                                                                       '5171: Executive Summary - iPhone Feedback: "iPhone appeared to be the
                                                                                                       most popular touch phone brand in the high value segment - The
                                                                                                       consumers recognize iPhone's screen-centric design as touch phone's
       97                                                                                              standard . . . (Our company's main target segment, 'state of the art,'
                                                                                                       considers Apple as no. 1 and our company as no. 2 in the "Most Stylish
                                                                                                       Brand" category.)"

                                                                                                       '5172: Executive Summary - Samsung Touch Feedback: "The exterior
                                                                                                       design and PUI's design group statement that encompasses the consistency
                                                                                                       of individual products and the overall touch portfolio was evaluated to be
                                                                                                       weak."


Sources/Notes:
1/ (a) iPhone Buyer Survey, Apple Market Research & Analysis, FY11 - Q4, APLNDC-X0000006548 - 6647, at '6566 and '6620;
   (b) iPhone Buyer Survey, Apple Market Research & Analysis, FY11 - Q3, APLNDC0000036172 - 6265, at '6189 and '6238;
   (c ) iPhone Buyer Survey, Apple Market Research & Analysis, FY11 - Q2, APLNDC0000036266 - 6348, at '6293;
   (d) iPhone Buyer Survey, Apple Market Research & Analysis, FY11 - Q1, APLNDC-Y0000027341 - 7422, at '7362;
   (e) iPhone Buyer Survey, Apple Market Research & Analysis, FY10 - Q4, APLNDC-Y0000027256 - 7340, at '7277.




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